         Case 19-40608-thf                Doc 1         Filed 07/12/19            Entered 07/12/19 08:39:37                   Page 1 of 102
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

           Western District Of Kentucky
 ______ ______________
                                       (State)

                                                           7
 Case number (If known): _________________________ Chapter _____                                                                         Check if this is an
                                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.   Debtor’s name                         Burlington Civil, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used           BCI; BCI Constructors; Industrial Fabrication & Coatings
                                           ______________________________________________________________________________________________________
     in the last 8 years                   ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
     Include any assumed names,
                                           ______________________________________________________________________________________________________
     trade names, and doing business
     as names                              ______________________________________________________________________________________________________




3.   Debtor’s federal Employer              3 ___
                                           ___ 5 – ___
                                                    2 ___
                                                       1 ___
                                                          0 ___
                                                             1 ___
                                                                3 ___
                                                                   6 ___
                                                                      4
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business

                                           2601 W. Fourth St.
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street


                                           ______________________________________________               PO. Box 845
                                                                                                        _______________________________________________
                                                                                                        P.O. Box

                                           Owensboro                 KY 42301
                                           ______________________________________________               Owensboro                KY       42301
                                                                                                        _______________________________________________
                                           City                        State    ZIP Code                City                        State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                           DAVIESS
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                www.bciconstructors.com
                                           ____________________________________________________________________________________________________


6.   Type of debtor                        
                                           X Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 1
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Debtor          Burlington Civil, Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         X None of the above

                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             2 ___
                                            ___ 3 ___
                                                   6 ___
                                                      2

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                     
                                         X Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                        Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                             4/01/22 and every 3 years after that).
                                                         
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                            A plan is being filed with this petition.

                                                            Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                            The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                            The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases        
                                         X No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases           
                                         X No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor        Burlington Civil, Inc.
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this    Check all that apply:
      district?
                                       
                                       X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                        A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have      
                                       X No
      possession of any real            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.

                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                   Other _______________________________________________________________________________



                                                Where is the property?_____________________________________________________________________
                                                                          Number          Street

                                                                          ____________________________________________________________________

                                                                          _______________________________________         _______     ________________
                                                                          City                                            State       ZIP Code


                                                Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________

                                                         Contact name     ____________________________________________________________________

                                                         Phone            ________________________________




            Statistical and administrative information



13.   Debtor’s estimation of           Check one:
      available funds                   Funds will be available for distribution to unsecured creditors.
                                       
                                       X After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                        1-49                            1,000-5,000                              25,001-50,000
14.   Estimated number of               50-99                           5,001-10,000                             50,001-100,000
      creditors
                                       
                                       X 100-199                         10,001-25,000                            More than 100,000
                                        200-999

                                        $0-$50,000                      $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                  $50,001-$100,000                $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                        $100,001-$500,000               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                       
                                       X $500,001-$1 million             $100,000,001-$500 million                More than $50 billion



  Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor         Burlington Civil, Inc.
               _______________________________________________________                         Case number (if known)_____________________________________
               Name



                                         $0-$50,000                        
                                                                            X $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                         $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                         $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Request for Relief, Declaration, and Signatures


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                            petition.
      debtor
                                           I have been authorized to file this petition on behalf of the debtor.

                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                            correct.


                                        I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on 07/12/2019
                                                        _________________
                                                        MM / DD / YYYY


                                        /s/John R. Scheithe
                                            _____________________________________________              John R. Scheithe
                                                                                                       _______________________________________________
                                            Signature of authorized representative of debtor           Printed name

                                            Title President and sole shareholder
                                                  _________________________________________




18.   Signature of attorney
                                        /s/R. Stephen LaPlante
                                            _____________________________________________              Date         07/12/2019
                                                                                                                    _________________
                                            Signature of attorney for debtor                                        MM   / DD / YYYY

                                             IN
                                            R. Stephen LaPlante
                                            _________________________________________________________________________________________________
                                            Printed name

                                            LaPlante LLP
                                            _________________________________________________________________________________________________
                                            Firm name

                                            101 NW 1st St., Ste. 116, P.O. Box 3556
                                            _________________________________________________________________________________________________
                                            Number     Street

                                            Evansville
                                            ____________________________________________________           IN
                                                                                                           ____________ 47734-3556
                                                                                                                        ______________________________
                                            City                                                           State        ZIP Code

                                            (812) 463-6093
                                            ____________________________________                           slaplante@laplantellp.com
                                                                                                           __________________________________________
                                            Contact phone                                                  Email address



                                            8687-82
                                            ______________________________________________________ IN
                                                                                                   ____________
                                            Bar number                                             State




  Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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                             UNITED STATES BANKRUPTCY COURT
                                  Western District of Kentucky


In re:
Dothins                                              Dothins




                                                     Case No. BKY
                                                     Dothins




Burlington Civil, Inc.,
Dothins




Debtor(s)
Dothins
                                                     Chapter 7 Case
                                                     Dothins




          STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION


       I, John R. Scheithe, declare under penalty of perjury that I am the President and sole
shareholder of Burlington Civil, Inc., a Indiana corporation and that on June 4, 2019 the
following resolution was duly adopted by the President and sole shareholder of this corporation:

       \Whereas, it is in the best interest of this corporation to file a voluntary petition in the
United States Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

         Be It Therefore Resolved, that John R. Scheithe, President and sole shareholder of this
corporation, is authorized and directed to execute and deliver all documents necessary to perfect
the filing of a chapter 7 voluntary bankruptcy case on behalf of the corporation; and

       Be It Further Resolved, that John R. Scheithe, President and sole shareholder of this
corporation, is authorized and directed to appear in all bankruptcy proceedings on behalf of the
corporation, and to otherwise do and perform all acts and deeds and to execute and deliver all
necessary documents on behalf of the corporation in connection with such bankruptcy case; and

        Be It Further Resolved, that John R. Scheithe, President and sole shareholder of this
corporation, is authorized and directed to employ R. Stephen LaPlante, attorney and the law firm
of LaPlante LLP to represent the corporation in such bankruptcy case.\


Executed on: July 12, 2019
Dothins
                                                     Signed: /s/John R. Scheithe
                                                     Dothins




Dothins
                                                     John R. Scheithe 1801 Mohawk Dr.,
                                                     Owensboro, KY 42301 (Name and Address of
                                                     Subscriber)
                                                     Dothins
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                                  United States Bankruptcy Court
                                          Western District of Kentucky



In re Burlington Civil, Inc.                                        Case No.


         Debtor.                                                    Chapter 7

                               STATEMENT OF CORPORATE OWNERSHIP

Comes now ___________________________
            Burlington Civil, Inc.    (the “Debtor”) and pursuant to Fed. R. Bankr. P. 1007(a)
and 7007.1 state as follows:


____ All corporations that directly or indirectly own 10% or more of any class of the corporation’s equity
interests are listed below:




OR,

____
 X There are no entities to report.




                                                        By:_________________________________
                                                           /s/R. Stephen LaPlante
                                                           R. Stephen LaPlante
                                                            Signature of Attorney

                                                            Counsel for
                                                            Bar no.: 8687-82
                                                            Address.: 101 NW 1st St., Ste. 116, P.O.
                                                                      Box 3556
                                                                      Evansville, Indiana 47734-3556
                                                            Telephone No.: (812) 463-6093
                                                            Fax No.: (812) 463-6094
                                                            E-mail address: slaplante@laplantellp.com
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 Fill in this information to identify the case:

              Burlington Civil, Inc.
  Debtor name _________________________________________________________________

                                         Western District of Kentucky
  United States Bankruptcy Court for the:_______________________________________

  Case number (If known):              _________________________


                                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                12/15




Part 1:          Summary of Assets


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                       $ 0.00
                                                                                                                                                                                                         ________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                                       $ 492,474.55
                                                                                                                                                                                                         ________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                                       $ 492,474.55
                                                                                                                                                                                                         ________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Part 2:          Summary of Liabilities




2. Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, at the bottom of page 1 of Schedule D ............................                                                              $ 735,161.00
                                                                                                                                                                                                         ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................                                    $ 29,738.51
                                                                                                                                                                                                         ________________


     3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +   $ 2,600,822.40
                                                                                                                                                                                                         ________________




4. Total liabilities ...........................................................................................................................................................................
                                                                                                                                                                                                       $ 3,365,721.91
                                                                                                                                                                                                         ________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                         page 1
           Case 19-40608-thf                  Doc 1       Filed 07/12/19          Entered 07/12/19 08:39:37                      Page 8 of 102
  Fill in this information to identify the case:

  Debtor name Burlington  Civil, Inc.
              __________________________________________________________________


  United States Bankruptcy Court for the:Western District of Kentucky
                                         ________________________________________

  Case number (If known):     _________________________                                                                                Check if this is an
                                                                                                                                          amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                   12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   
   X      Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor’s
                                                                                                                                    interest

2. Cash on hand                                                                                                                    $0.00
                                                                                                                                    ______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                 Type of account                Last 4 digits of account number
        BB&T
   3.1. _________________________________________________ Savings
                                                          ______________________                 3 ____
                                                                                               ____ 3 ____
                                                                                                        7 ____
                                                                                                           4                       $16.61
                                                                                                                                    ______________________
        BB&T
   3.2. _________________________________________________ Direct Deposit
                                                          ______________________                 2 ____
                                                                                               ____ 5 ____
                                                                                                        9 ____
                                                                                                           9                        23.86
                                                                                                                                   $______________________


4. Other cash equivalents (Identify all)
        BB&T Operating Account 2548
   4.1. _____________________________________________________________________________________________________                      $1,770.08
                                                                                                                                    ______________________

   4.2. _____________________________________________________________________________________________________                      $______________________

5. Total of Part 1
                                                                                                                                   $1,810.55
                                                                                                                                    ______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   
   X      No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                    $______________________
   7.2._________________________________________________________________________________________________________                    $_______________________


  Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                                   page 1
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Debtor         Burlington  Civil, Inc.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                  $______________________
   8.2.___________________________________________________________________________________________________________                  $_______________________

9. Total of Part 2.
                                                                                                                                    $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
    
    X Yes. Fill in the information below.
                                                                                                                                    Current value of debtor’s
                                                                                                                                    interest
11. Accounts receivable

    11a. 90 days old or less:    $49,824.00
                                 ____________________________   – $0.00
                                                                  ___________________________          = ........                 $49,824.00
                                                                                                                                    ______________________
                                   face amount                    doubtful or uncollectible accounts

    11b. Over 90 days old:        $0.00
                                  ___________________________   – $0.00
                                                                  ___________________________          = ........                 $0.00
                                                                                                                                    ______________________
                                   face amount                    doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 49,824.00
                                                                                                                                   $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    X No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                          Valuation method          Current value of debtor’s
                                                                                                          used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________                 _____________________    $________________________
   14.2. ________________________________________________________________________________                 _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                  % of ownership:

   15.1._______________________________________________________________             ________%             _____________________    $________________________
   15.2._______________________________________________________________             ________%             _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                  ______________________    $_______________________
   16.2.________________________________________________________________________________                  ______________________    $_______________________



17. Total of Part 4
                                                                                                                                   $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                     page 2
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Debtor          Burlington  Civil, Inc.                               102
                _______________________________________________________                  Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    X No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used        Current value of
                                                    physical inventory   debtor's interest     for current value            debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                         $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                        $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    X No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used        Current value of debtor’s
                                                                         debtor's interest     for current value            interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
    `
   ______________________________________________________________         $________________     ____________________       $______________________
    `
30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________         $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed
   ______________________________________________________________         $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________       $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                              page 3
            Case 19-40608-thf                Doc 1        Filed 07/12/19 Entered 07/12/19 08:39:37 Page 11 of
Debtor         Burlington Civil, Inc.
               _______________________________________________________102       Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    
    X Yes. Fill in the information below.

   
   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   Office furniture
   ______________________________________________________________               Unknown
                                                                               $________________   FMV
                                                                                                   ____________________     $12,000.00
                                                                                                                             ______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   Copiers, TVs, computers and software
   ______________________________________________________________               Unknown
                                                                               $________________   FMV
                                                                                                   ____________________     $7,350.00
                                                                                                                             ______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
    
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                            $19,350.00
                                                                                                                             ______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
    
    X Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    
    X No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
            Case 19-40608-thf               Doc 1         Filed 07/12/19         Entered 07/12/19 08:39:37                Page 12 of
 Debtor         Burlington  Civil, Inc.                               102
                _______________________________________________________                    Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
    
    X Yes. Fill in the information below.

      description
   General                                                                 Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

       Vehicles - see attached list
   47.1___________________________________________________________           15,255.00
                                                                            $________________      FMV
                                                                                                   ____________________       $47,980.00
                                                                                                                               ______________________

       2014 Chevrolet Silverado 1500
   47.2___________________________________________________________           12,285.00
                                                                            $________________      FMV
                                                                                                   ____________________       $8,600.00
                                                                                                                               ______________________

       2016 Chevrolet Silverado 1500
   47.3___________________________________________________________           20,427.00
                                                                            $________________      FMV
                                                                                                   ____________________       $18,750.00
                                                                                                                               ______________________

       2017 Chevrolet Silverado 1500
   47.4___________________________________________________________           32,064.00
                                                                            $________________      FMV
                                                                                                   ____________________       $25,860.00
                                                                                                                               ______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________       ____________________       $______________________

   48.2__________________________________________________________          $________________       ____________________       $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________       ____________________       $______________________

   49.2__________________________________________________________          $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   Equipment   - see attached list
   ______________________________________________________________           101,883.00
                                                                           $________________       FMV
                                                                                                   ____________________       $305,300.00
                                                                                                                               ______________________



51. Total of Part 8.
                                                                                                                              $406,490.00
                                                                                                                               ______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
    
    X     Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    
    X     No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
            Case 19-40608-thf                  Doc 1         Filed 07/12/19           Entered 07/12/19 08:39:37                  Page 13 of
Debtor          Burlington  Civil, Inc.                               102
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    
    X Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
        Business premises 2601 W. 4th St.
    55.1________________________________________            Leasehold
                                                            _________________      Unknown
                                                                                  $_______________      ____________________         Unknown
                                                                                                                                    $_____________________

    55.2________________________________________            _________________     $_______________      ____________________        $_____________________

    55.3________________________________________            _________________     $_______________      ____________________        $_____________________

    55.4________________________________________            _________________     $_______________      ____________________        $_____________________

    55.5________________________________________            _________________     $_______________      ____________________        $_____________________

    55.6________________________________________            _________________     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                     0.00
                                                                                                                                    $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
    
    X     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    
    X     No
         Yes

Part 10: Intangibles and Intellectual Property

59. Does the debtor have any interests in intangibles or intellectual property?
    
    X No. Go to Part 11.
     Yes. Fill in the information below.
   General description                                                           Net book value of     Valuation method             Current value of
                                                                                  debtor's interest     used for current value       debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________     _____________________       $____________________
                                                                                   _                     _
65. Goodwill
    ______________________________________________________________                 $________________     _____________________       $____________________
                                                                                   _                     _

66. Total of Part 10.
                                                                                                                                     $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 6
            Case 19-40608-thf                      Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37 Page 14 of
Debtor          Burlington Civil, Inc.
                _______________________________________________________102       Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
    
    X     Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                    _______________     –   __________________________         =   $_____________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested_                 $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   Miscellaneous   hand tools
   ____________________________________________________________                                                                      15,000.00
                                                                                                                                    $_____________________
   ____________________________________________________________                                                                      0.00
                                                                                                                                    $_____________________

78. Total of Part 11.
                                                                                                                                     15,000.00
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    X    No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
               Case 19-40608-thf                        Doc 1           Filed 07/12/19 Entered 07/12/19 08:39:37 Page 15 of
 Debtor            Burlington Civil, Inc.
                   _______________________________________________________          102       Case number (if known)_____________________________________
                   Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


        Type of property                                                                             Current value of                         Current value
                                                                                                     personal property                        of real property

 80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $1,810.55
                                                                                                         _______________


 81. Deposits and prepayments. Copy line 9, Part 2.                                                      0.00
                                                                                                        $_______________


 82. Accounts receivable. Copy line 12, Part 3.                                                         $49,824.00
                                                                                                         _______________


 83. Investments. Copy line 17, Part 4.                                                                 $0.00
                                                                                                         _______________


 84. Inventory. Copy line 23, Part 5.                                                                   $0.00
                                                                                                         _______________


 85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $0.00
                                                                                                         _______________


 86. Office furniture, fixtures, and equipment, and collectibles.
                                                                                                        $19,350.00
                                                                                                         _______________
     Copy line 43, Part 7.

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $406,490.00
                                                                                                         _______________


 88. Real property. Copy line 56, Part 9. . ..................................................................................               $0.00
                                                                                                                                               ________________


 89. Intangibles and intellectual property. Copy line 66, Part 10.                                       0.00
                                                                                                        $_______________


 90. All other assets. Copy line 78, Part 11.                                                      + $_______________
                                                                                                      15,000.00

                                                                                                         492,474.55                            0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                    $_______________           +   91b.
                                                                                                                                              $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..........................................................................................       $492,474.55
                                                                                                                                                                   __________________




 Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
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                                        102
Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 17 of
                                        102
              Case 19-40608-thf                        Doc 1        Filed 07/12/19 Entered 07/12/19 08:39:37                                    Page 18 of
  Fill in this information to identify the case:
                                                                                102

  Debtor name Burlington Civil, Inc.
              __________________________________________________________________
  United States Bankruptcy Court for the: Western District of Kentucky
                                          ______________________________________

  Case number (If known):      _________________________                                                                                              
                                                                                                             ___________________________________________
                                                                                                                                                   Check        if this is an
                                                                                                                                                           amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
    
    X   Yes. Fill in all of the information below.

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim           Value of collateral
                                                                                                                                Do not deduct the value   that supports this
                                                                                                                                of collateral.            claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Branch  Banking and Trust Company
     __________________________________________                 Blanket security interest in all assets              650,000.00
                                                                                                                    $__________________                     492,474.55
                                                                                                                                                           $_________________
                                                                ___________________________________________________
    Creditor’s mailing address                                  ___________________________________________________

     230 Frederica St.
     ________________________________________________________   ___________________________________________________
     Owensboro, Kentucky 42301
     ________________________________________________________   Describe the lien
                                                                 Line of credit - financing statement filed 8/21/13
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes

    Date debt was incurred          8/21/13
                                    __________________          Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   8___ 7___ 1___ 5___                
                                                                X   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
    
    X No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
            ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     Branch  Banking and Trust Company
     __________________________________________                 1979  American Crane
                                                                ___________________________________________________  23,000.00
                                                                                                                    $__________________                     60,000.00
                                                                                                                                                           $_________________

    Creditor’s mailing address                                  ___________________________________________________
     230 Frederica St.
     ________________________________________________________   ___________________________________________________
     Owensboro,        Kentucky 42301-3003
     ________________________________________________________   Describe the lien
                                                                 Purchase-Money    Security Interest
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes

    Date debt was incurred         4/12/16
                                    __________________          Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X   No
    number                   8___ 7___ 1___ 6___                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

    
    X No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  735,161.00
                                                                                                                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5
                                                                                                                                                                       ___
                Case 19-40608-thf                       Doc 1       Filed 07/12/19 Entered 07/12/19 08:39:37 Page 19 of
  Debtor           Burlington Civil, Inc.
                   _______________________________________________________                Case number (if known)_____________________________________
                    Name                                                        102

                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  3 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Branch  Banking and Trust Company
     __________________________________________                 2014  Chevrolet Silverado 1500
                                                                ___________________________________________________
                                                                                                                                $__________________      8,600.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address
                                                                ___________________________________________________
     230   Frederica St.
     ________________________________________________________

     Owensboro,        Kentucky 42301
     ________________________________________________________   Describe the lien
                                                                 Line of credit (see 2.1 above)
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           8/21/13
                                     __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X   No
    number                   8___ 7___ ___
                                       1 5___                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    X Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

           
           X   No. Specify each creditor, including this
                   creditor, and its relative priority.
                   1:Wells Fargo Auto; 2:Branch Banking
                   _______________________________
                   and Trust Company
                   _______________________________
                   _______________________________
              Yes. The relative priority of creditors is
                   specified on lines _____


  4 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Branch  Banking and Trust Company
     __________________________________________
                                                                2016  Chevrolet Silverado 1500
                                                                ___________________________________________________
                                                                                                                                $__________________      18,750.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
     230 Frederica St.
     ________________________________________________________

     Owensboro, Kentucky 42301
     ________________________________________________________   Describe the lien
                                                                 Line of credit (see 2.1 above)
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes

    Date debt was incurred           8/21/13
                                     __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X   No
    number                   8___ 7___ 1___ ___
                                            5                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    X Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

           
           X   No. Specify each creditor, including this
                   creditor, and its relative priority.
                   1:Wells Fargo Auto; 2:Branch Banking
                   _______________________________
                   and Trust Company
                   _______________________________
                   _______________________________
              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2
                                                                                                                                                                ___ of 5
                                                                                                                                                                       ___
                Case 19-40608-thf                       Doc 1       Filed 07/12/19 Entered 07/12/19 08:39:37 Page 20 of
  Debtor           Burlington Civil, Inc.
                   _______________________________________________________                Case number (if known)_____________________________________
                    Name                                                        102

                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  5 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Branch  Banking and Trust Company
     __________________________________________                 2017  Chevrolet Silverado 1500
                                                                ___________________________________________________
                                                                                                                                $__________________      25,860.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address
                                                                ___________________________________________________
     230   Frederica St.
     ________________________________________________________

     Owensboro,        Kentucky 42301
     ________________________________________________________   Describe the lien
                                                                 Line of credit (see 2.1 above)
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           8/21/13
                                     __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X   No
    number                   8___ 7___ ___
                                       1 5___                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    X Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

           
           X   No. Specify each creditor, including this
                   creditor, and its relative priority.
                   1:Wells Fargo Auto; 2:Branch Banking
                   _______________________________
                   and Trust Company
                   _______________________________
                   _______________________________
              Yes. The relative priority of creditors is
                   specified on lines _____


  6 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Wells Fargo Auto
     __________________________________________
                                                                2014  Chevrolet Silverado 1500
                                                                ___________________________________________________
                                                                                                                                 11,380.00
                                                                                                                                $__________________      8,600.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
     MAC T9017-026, P.O. Box 168048
     ________________________________________________________

     Irving, Texas 75016-8048
     ________________________________________________________   Describe the lien
                                                                 Purchase-Money    Security Interest
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes

    Date debt was incurred           11/14/16
                                     __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    X Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________
           
           X   Yes. The relative priority of creditors is
                   specified on lines 2.3
                                       _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3
                                                                                                                                                                ___ of 5
                                                                                                                                                                       ___
                Case 19-40608-thf                       Doc 1       Filed 07/12/19 Entered 07/12/19 08:39:37 Page 21 of
  Debtor           Burlington Civil, Inc.
                   _______________________________________________________                Case number (if known)_____________________________________
                    Name                                                        102

                                                                                                                                Column A                Column B
 Part 1:        Additional Page                                                                                                 Amount of claim         Value of collateral
                                                                                                                                Do not deduct the value that supports this
                                                                                                                                of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

  7 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Wells Fargo Auto
     __________________________________________                 2016  Chevrolet Silverado 1500
                                                                ___________________________________________________
                                                                                                                                 18,149.00
                                                                                                                                $__________________      18,750.00
                                                                                                                                                        $_________________
                                                                ___________________________________________________
     Creditor’s mailing address
                                                                ___________________________________________________
     MAC     T9017-026, P.o. Box 168048
     ________________________________________________________

     Irving,  Texas 75016-8048
     ________________________________________________________   Describe the lien
                                                                 Purchase-Money    Security Interest
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes


    Date debt was incurred           9/27/16
                                     __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    X Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________
           
           X   Yes. The relative priority of creditors is
                   specified on lines 2.4
                                       _____


  8 Creditor’s name
2._                                                             Describe debtor’s property that is subject to a lien

     Wells Fargo Auto
     __________________________________________
                                                                2017  Chevrolet Silverado 1500
                                                                ___________________________________________________
                                                                                                                                 32,632.00
                                                                                                                                $__________________      25,860.00
                                                                                                                                                        $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
     MAC T9017-026, P.O. Box 168048
     ________________________________________________________

     Irving, Texas 75016-8048
     ________________________________________________________   Describe the lien
                                                                 Purchase-Money    Security Interest
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                
                                                                X   No
                                                                   Yes

    Date debt was incurred           12/4/17
                                     __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                
                                                                X   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
    
    X Yes. Have you already specified the relative                 Unliquidated
               priority?                                           Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________
           
           X   Yes. The relative priority of creditors is
                   specified on lines 2.5
                                       _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4
                                                                                                                                                                ___ of 5
                                                                                                                                                                       ___
             Case 19-40608-thf                        Doc 1           Filed 07/12/19 Entered 07/12/19 08:39:37                                           Page 22 of
                                                                                  102
Debtor           Burlington Civil, Inc.
                 _______________________________________________________                                                 Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                      On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                      did you enter the           account number
                                                                                                                                      related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                                     5 of ___
                                                                                                                                                                    page ___    5
               Case 19-40608-thf                    Doc 1          Filed 07/12/19 Entered 07/12/19 08:39:37                              Page 23 of
  Fill in this information to identify the case:                               102
  Debtor         Burlington Civil, Inc.
                 __________________________________________________________________

  United States Bankruptcy Court for the: Western District of Kentucky
                                          _______________________________________

  Case number      ___________________________________________
  (If known)

                                                                                                                                               Check if this is an
                                                                                                                                                 amended filing
Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 Part 1:       List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
    
    X      Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                   Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is: $______________________
                                                                                                                     Unknown                   Unknown
                                                                                                                                              $_________________
    Carpenters      Local 224
    __________________________________________________________________ Check all that apply.
    5370   Covert    Ct.
    ___________________________________________                         Contingent
                                                                        Unliquidated
    Newburgh, Indiana 47630
    ___________________________________________                         Disputed
    Date or dates debt was incurred                                    Basis for the claim:
                                                                      Contrib. to Emp. Benefit Plans
                                                                      __________________________________
    _________________________________

    Last 4 digits of account                                          Is the claim subject to offset?
    number      ___ ___ ___ ___                                       
                                                                      X    No
                                                                          Yes
    Specify Code subsection of PRIORITY unsecured
                               5
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is: $______________________
                                                                                                                     Unknown                   Unknown
                                                                                                                                              $_________________
    Commonwealth          of Kentucky, Dept. of Revenue Check all that apply.
    __________________________________________________________________

    Legal Support Branch, P.O. Box 5222
    ___________________________________________                         Contingent
                                                                        Unliquidated
    Frankfort, Kentucky 40602
    ___________________________________________                         Disputed
    Date or dates debt was incurred                                    Basis for the claim:
                                                                      __________________________________
                                                                      Taxes and Other Government Debts
    _________________________________

    Last 4 digits of account                                          Is the claim subject to offset?
    number      ___ ___ ___ ___                                       
                                                                      X No
                                                                       Yes
    Specify Code subsection of PRIORITY unsecured
                               8
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is: $______________________
                                                                                                                     Unknown                   Unknown
                                                                                                                                              $_________________
    Idaho    State Tax Commission
     __________________________________________________________________ Check all that apply.
    P.O. Box 36
    ___________________________________________                          Contingent
                                                                         Unliquidated
    Boise, Idaho 83722-0410
    ___________________________________________                          Disputed
    Date or dates debt was incurred                                    Basis for the claim:
                                                                      Taxes and Other Government Debts
                                                                      __________________________________
    _________________________________

    Last 4 digits of account                                          Is the claim subject to offset?
    number      ___ ___ ___ ___                                       
                                                                      X No
                                                                       Yes
    Specify Code subsection of PRIORITY unsecured
                               8
    claim: 11 U.S.C. § 507(a) (_____)




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                   34
                                                                                                                                                   page 1 of ___
Debtor
             Case   19-40608-thf
              Burlington Civil, Inc.     Doc 1 Filed 07/12/19 EnteredCase
              _______________________________________________________
                                                                        07/12/19      08:39:37 Page 24 of
                                                                          number (if known)_____________________________________
              Name                                                  102
 Part 1.     Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                        Total claim              Priority amount



2._
  4   Priority creditor’s name and mailing address                                                                     9,289.22                  9,289.22
                                                                                                                      $______________________   $_________________
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
      IN/KY/OH       Regional Council of Carpenters
       _________________________________________________________________
                                                                            Contingent
                                                                            Unliquidated
      Local 1076, 771 Greenwood Springs Dr.
      ___________________________________________                           Disputed
      Greenwood, Indiana 46143
      ___________________________________________
      Date or dates debt was incurred                                  Basis for the claim:
                                                                      __________________________________
                                                                      Contrib. to Emp. Benefit Plans
      _________________________________

      Last 4 digits of account                                        Is the claim subject to offset?
      number      ___ ___ ___ ___                                     
                                                                      X No
                                                                       Yes
      Specify Code subsection of PRIORITY unsecured
                                 5
      claim: 11 U.S.C. § 507(a) (_____)


  5
2._   Priority creditor’s name and mailing address                                                                     Unknown                   Unknown
                                                                                                                      $______________________   $_________________
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
      Indiana     Department of Revenue                                     Contingent
                                                                         
       _________________________________________________________________
                                                                             Unliquidated
      100 N. Senate Ave., Rm. N203-Bankruptcy
      ___________________________________________                           Disputed
      Indianapolis,      Indiana    46204
      ___________________________________________
      Date or dates debt was incurred                                  Basis for the claim:
                                                                      __________________________________
                                                                      Taxes and Other Government Debts
      _________________________________

      Last 4 digits of account                                        Is the claim subject to offset?
      number      ___ ___ ___ ___                                     
                                                                      X No
                                                                       Yes
      Specify Code subsection of PRIORITY unsecured
                                 8
      claim: 11 U.S.C. § 507(a) (_____)

  6
2._   Priority creditor’s name and mailing address                                                                     Unknown                   Unknown
                                                                                                                      $______________________   $_________________
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
      Internal    Revenue Service
       _________________________________________________________________    Contingent
      P.O. Box 7346
      ___________________________________________
                                                                            Unliquidated
                                                                            Disputed
      Philadelphia,      Pennsylvania 19101-7346
      ___________________________________________
      Date or dates debt was incurred                                  Basis for the claim:
                                                                      Taxes and Other Government Debts
                                                                      __________________________________
      _________________________________
      Last 4 digits of account                                        Is the claim subject to offset?
      number      ___ ___ ___ ___                                     X No
                                                                       Yes
      Specify Code subsection of PRIORITY unsecured
                                 8
      claim: 11 U.S.C. § 507(a) (_____)

  7
2._   Priority creditor’s name and mailing address                                                                   2,428.82                    2,428.82
                                                                      As of the petition filing date, the claim is: $______________________     $_________________
                                                                      Check all that apply.
      Ironworkers      Local 103
       _________________________________________________________________    Contingent
      5313 Old Boonville Hwy.
      ___________________________________________                           Unliquidated
      Evansville, Indiana 47715                                             Disputed
      ___________________________________________
      Date or dates debt was incurred                                  Basis for the claim:
                                                                      Contrib. to Emp. Benefit Plans
                                                                      __________________________________
      _________________________________

      Last 4 digits of account                                        Is the claim subject to offset?
      number      ___ ___ ___ ___                                     
                                                                      X No
                                                                       Yes
      Specify Code subsection of PRIORITY unsecured
                                 5
      claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                     2 of ___
                                                                                                                                                           page __   34
Debtor
              Case   19-40608-thf
               Burlington Civil, Inc.     Doc 1 Filed 07/12/19 EnteredCase
               _______________________________________________________
                                                                         07/12/19      08:39:37 Page 25 of
                                                                           number (if known)_____________________________________
               Name                                                  102
 Part 1.      Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                         Total claim              Priority amount



2._
  8    Priority creditor’s name and mailing address                                                                     3,325.31                  3,325.31
                                                                                                                       $______________________   $_________________
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
       IUOE     Local 03
        _________________________________________________________________
                                                                             Contingent
                                                                             Unliquidated
       8805 S. Sandy Parkway
       ___________________________________________                           Disputed
       Sandy, Utah 84070
       ___________________________________________
       Date or dates debt was incurred                                  Basis for the claim:
                                                                       __________________________________
                                                                       Contrib. to Emp. Benefit Plans
       _________________________________

       Last 4 digits of account                                        Is the claim subject to offset?
       number      ___ ___ ___ ___                                     
                                                                       X No
                                                                        Yes
       Specify Code subsection of PRIORITY unsecured
                                  5
       claim: 11 U.S.C. § 507(a) (_____)


  9
2._    Priority creditor’s name and mailing address                                                                     Unknown                   Unknown
                                                                                                                       $______________________   $_________________
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
       IUOE    Local 181                                                     Contingent
                                                                         
       _________________________________________________________________
                                                                              Unliquidated
       700 N. Elm St.
       ___________________________________________                           Disputed
       Henderson,      Kentucky      42419-0034
       ___________________________________________
       Date or dates debt was incurred                                  Basis for the claim:
                                                                       __________________________________
                                                                       Contrib. to Emp. Benefit Plans
       _________________________________

       Last 4 digits of account                                        Is the claim subject to offset?
       number      ___ ___ ___ ___                                     
                                                                       X No
                                                                        Yes
       Specify Code subsection of PRIORITY unsecured
                                  5
       claim: 11 U.S.C. § 507(a) (_____)

  10
2._    Priority creditor’s name and mailing address                                                                     Unknown                   Unknown
                                                                                                                       $______________________   $_________________
                                                                       As of the petition filing date, the claim is:
                                                                       Check all that apply.
       Kentucky     Dept. of Revenue PVA
       _________________________________________________________________     Contingent
       501 High St., 4th Fl, Station 32
       ___________________________________________
                                                                             Unliquidated
                                                                             Disputed
       Frankfort,    Kentucky 40601-2103
       ___________________________________________
       Date or dates debt was incurred                                  Basis for the claim:
                                                                       2018-19 personal property tax
                                                                       __________________________________
       _________________________________
       Last 4 digits of account                                        Is the claim subject to offset?
       number      ___ ___ ___ ___                                     X No
                                                                        Yes
       Specify Code subsection of PRIORITY unsecured
                                  6
       claim: 11 U.S.C. § 507(a) (_____)

  11
2._    Priority creditor’s name and mailing address                                                                   Unknown                     Unknown
                                                                       As of the petition filing date, the claim is: $______________________     $_________________
                                                                       Check all that apply.
       Kentucky     Office of Unemployment Insurance
       _________________________________________________________________     Contingent
       275 E. Main St., 2WB
       ___________________________________________                           Unliquidated
       Frankford, Kentucky 40601                                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                  Basis for the claim:
                                                                       Taxes and Other Government Debts
                                                                       __________________________________
       _________________________________

       Last 4 digits of account                                        Is the claim subject to offset?
       number      ___ ___ ___ ___                                     
                                                                       X No
                                                                        Yes
       Specify Code subsection of PRIORITY unsecured
                                  8
       claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     3 of ___
                                                                                                                                                            page __   34
Debtor
              Case   19-40608-thf
               Burlington Civil, Inc.     Doc 1 Filed 07/12/19 EnteredCase
               _______________________________________________________
                                                                         07/12/19      08:39:37 Page 26 of
                                                                           number (if known)_____________________________________
               Name                                                  102
 Part 1.      Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                        Total claim              Priority amount



2._
  12   Priority creditor’s name and mailing address                                                                    13,128.08                 13,128.08
                                                                                                                      $______________________   $_________________
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
       Plumbers     and Pipefitters Local 633
       _________________________________________________________________
                                                                            Contingent
                                                                            Unliquidated
       3128 Alvey Park Dr. W.
       ___________________________________________                          Disputed
       Owensboro, Kentucky 42303
       ___________________________________________
       Date or dates debt was incurred                                 Basis for the claim:
                                                                      __________________________________
                                                                      Contrib. to Emp. Benefit Plans
       _________________________________

       Last 4 digits of account                                       Is the claim subject to offset?
       number      ___ ___ ___ ___                                    
                                                                      X No
                                                                       Yes
       Specify Code subsection of PRIORITY unsecured
                                  5
       claim: 11 U.S.C. § 507(a) (_____)


  13
2._    Priority creditor’s name and mailing address                                                                    1,567.08                  1,567.08
                                                                                                                      $______________________   $_________________
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
       Southwest      Regional Council of Carpenters                        Contingent
                                                                         
       _________________________________________________________________
                                                                             Unliquidated
       Local 801, 533 S. Fremont Ave., 10th Fl.
       ___________________________________________                          Disputed
       Los  Angeles,     California    90071
       ___________________________________________
       Date or dates debt was incurred                                 Basis for the claim:
                                                                      __________________________________
                                                                      Contrib. to Emp. Benefit Plans
       _________________________________

       Last 4 digits of account                                       Is the claim subject to offset?
       number      ___ ___ ___ ___                                    
                                                                      X No
                                                                       Yes
       Specify Code subsection of PRIORITY unsecured
                                  5
       claim: 11 U.S.C. § 507(a) (_____)

  14
2._    Priority creditor’s name and mailing address                                                                    Unknown                   Unknown
                                                                                                                      $______________________   $_________________
                                                                      As of the petition filing date, the claim is:
                                                                      Check all that apply.
       Tennessee       Dept. of Labor and Workforce Dev. 
       _________________________________________________________________     Contingent
       220 French Landing Dr.
       ___________________________________________
                                                                            Unliquidated
                                                                            Disputed
       Nashville,    Tennessee 37243
       ___________________________________________
       Date or dates debt was incurred                                 Basis for the claim:
                                                                      Taxes and Other Government Debts
                                                                      __________________________________
       _________________________________
       Last 4 digits of account                                       Is the claim subject to offset?
       number      ___ ___ ___ ___                                    X No
                                                                       Yes
       Specify Code subsection of PRIORITY unsecured
                                  8
       claim: 11 U.S.C. § 507(a) (_____)

  15
2._    Priority creditor’s name and mailing address                                                                  Unknown                     Unknown
                                                                      As of the petition filing date, the claim is: $______________________     $_________________
                                                                      Check all that apply.
       Utah   Dept. Workforce Services
       _________________________________________________________________    Contingent
       P.O. Box 45249
       ___________________________________________                          Unliquidated
       Salt Lake City, Utah 84145-0249                                      Disputed
       ___________________________________________
       Date or dates debt was incurred                                 Basis for the claim:
                                                                      Taxes and Other Government Debts
                                                                      __________________________________
       _________________________________

       Last 4 digits of account                                       Is the claim subject to offset?
       number      ___ ___ ___ ___                                    
                                                                      X No
                                                                       Yes
       Specify Code subsection of PRIORITY unsecured
                                  8
       claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    4 of ___
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Debtor
              Case   19-40608-thf
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               _______________________________________________________
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                                                                           number (if known)_____________________________________
               Name                                                  102
 Part 1.      Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                             Total claim              Priority amount



2._
  16   Priority creditor’s name and mailing address                                                                         Unknown                   Unknown
                                                                                                                           $______________________   $_________________
                                                                           As of the petition filing date, the claim is:
                                                                           Check all that apply.
       Utah   State Tax Commission
       _________________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
       Taxpayer Services, 210 N. 1950 W.
       ___________________________________________                            Disputed
       Salt Lake City, Utah 84134
       ___________________________________________
       Date or dates debt was incurred                                     Basis for the claim:
                                                                           __________________________________
                                                                           Taxes and Other Government Debts
       _________________________________

       Last 4 digits of account                                            Is the claim subject to offset?
       number      ___ ___ ___ ___                                         
                                                                           X No
                                                                            Yes
       Specify Code subsection of PRIORITY unsecured
                                  8
       claim: 11 U.S.C. § 507(a) (_____)


  17
2._    Priority creditor’s name and mailing address
                                                                                                                           $______________________   $_________________
                                                                           As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                              Contingent
                                                                           
       _________________________________________________________________
                                                                               Unliquidated
       ___________________________________________                            Disputed
       ___________________________________________
       Date or dates debt was incurred                                      Basis for the claim:
                                                                           __________________________________
       _________________________________

       Last 4 digits of account                                            Is the claim subject to offset?
       number      ___ ___ ___ ___                                          No
                                                                            Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

  18
2._    Priority creditor’s name and mailing address
                                                                                                                           $______________________   $_________________
                                                                           As of the petition filing date, the claim is:
                                                                           Check all that apply.
       _________________________________________________________________      Contingent
       ___________________________________________
                                                                              Unliquidated
                                                                              Disputed
       ___________________________________________
       Date or dates debt was incurred                                      Basis for the claim:
                                                                           __________________________________
       _________________________________
       Last 4 digits of account                                            Is the claim subject to offset?
       number      ___ ___ ___ ___                                          No
                                                                            Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

  19
2._    Priority creditor’s name and mailing address
                                                                           As of the petition filing date, the claim is: $______________________     $_________________
                                                                           Check all that apply.
       _________________________________________________________________      Contingent
       ___________________________________________                            Unliquidated
                                                                              Disputed
       ___________________________________________
       Date or dates debt was incurred                                      Basis for the claim:
                                                                           __________________________________
       _________________________________

       Last 4 digits of account                                            Is the claim subject to offset?
       number      ___ ___ ___ ___                                          No
                                                                            Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                       5 of ___
                                                                                                                                                                page __   34
Debtor
           Case   19-40608-thf
            Burlington Civil, Inc.     Doc 1 Filed 07/12/19 EnteredCase
            _______________________________________________________
                                                                      07/12/19      08:39:37 Page 28 of
                                                                        number (if known)_____________________________________
            Name                                                  102
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 4 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                            Notice Only
                                                                                                                           $________________________________
    A.B.C. Rental Center, Inc.
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    1301 Daviess St.
    ____________________________________________________________              Disputed
    Owensboro, Kentucky 42303
    ____________________________________________________________
                                                                           Basis for the claim: Open  account
                                                                                                ________________________

    Date or dates debt was incurred            3/27/19
                                                ___________________        Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number            2___ 4___ ___
                                                         0 9___               Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                 Check all that apply.                                      Notice Only
                                                                                                                           $________________________________
    Ace's Sporting Goods
    ____________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
    1265 Highway 3543
    ____________________________________________________________  Disputed
    Hawesville, Kentucky  42348
    ____________________________________________________________
                                                                           Basis for the claim: Open  account
                                                                                                ________________________

    Date or dates debt was incurred            3/18/19
                                                ___________________        Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number            1___ 8___ 1___ 9___            Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                 Check all that apply.                                      3,717.00
                                                                                                                           $________________________________
    Airgas USA, LLC
    ____________________________________________________________
                                                                  Contingent
    P.O. Box 9249                                                 Unliquidated
    ____________________________________________________________  Disputed
    Marietta, Georgia 30065-2249
    ____________________________________________________________
                                                                           Basis for the claim: Open  accounts
                                                                                                ________________________

    Date or dates debt was incurred            4/30/19
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number            8___ ___
                                                    6 3___ 4___               Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                            1,645.28
                                                                                                                           $________________________________
    All-Star Waste Services, Inc.
    ____________________________________________________________
                                                                           
                                                                           X   Contingent
                                                                              Unliquidated
    P.O. Box 104
    ____________________________________________________________              Disputed
    Maceo, Kentucky 42355
    ____________________________________________________________
                                                                           Basis for the claim: Open  account
                                                                                                ________________________

    Date or dates debt was incurred            4/11/19
                                                ___________________        Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number            3___ 4___ 3___ 0___            Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                            2,367.64
                                                                                                                           $________________________________
    American  Engineers, Inc.
    ____________________________________________________________
                                                                              Contingent
    65 Aberdeen Dr.
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    Glasgow, Kentucky 42141
    ____________________________________________________________
                                                                           Basis for the claim: Open  accounts
                                                                                                ________________________

    Date or dates debt was incurred            3/31/19
                                                ___________________        Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number            4___ 3___ ___
                                                         0 6___               Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                            Unknown
                                                                                                                           $________________________________
    American Express
    ____________________________________________________________
                                                                              Contingent
    P.O. Box 981535
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    El Paso, Texas 79998-1535
    ____________________________________________________________
                                                                           Basis for the claim: Credit card
                                                                                                ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           X   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  7 Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                    Check all that apply.                            Notice Only
                                                                                                                    $________________________________
     American Society of Civil Engineers
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     1801 Alexander Bell Dr.
     ___________________________________________________________       Liquidated and neither contingent nor
     Reston, Virginia 20191
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         9/20/18
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  8 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Austin Insulation, LLC
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     745 Corrine Ave.
     ___________________________________________________________       Disputed
     Memphis, Tennessee 38107
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/15/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         9 ___
                                             ___ 9 ___
                                                    5 ___
                                                        8              Yes


  9 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     A-West Side Towing
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     2029 Lancaster Ave.
     ___________________________________________________________  Disputed
     Owensboro,   Kentucky 42301
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/15/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         4 ___
                                             ___ 2 ___
                                                   1 ___
                                                       9               Yes


3.__
  10 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Barnhart
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1120 Ewing Rd.
     ___________________________________________________________       Disputed
     Owensboro,   Kentucky 42301
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/21/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         6___ ___
                                                  8 ___
                                                      4 8___           Yes



3.__
  11 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     3,853.81
                                                                                                                    $________________________________
     Barricade Services & Sales, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 1406
     ___________________________________________________________       Disputed
     West Jordan, Utah 84084
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/6/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         7 ___
                                             ___ 7 ___
                                                    9 ___
                                                        6              Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  12 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            1,000.83
                                                                                                                    $________________________________
     Big River Rubber & Gasket Co., Inc.
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     214 W. 10th St.
     ___________________________________________________________       Liquidated and neither contingent nor
     Owensboro, Kentucky 42302-0369
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         5/2/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         -___ 0___ ___
                                                       0 1___          Yes



  13 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Black Equipment Co., Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1187 Burch Dr.
     ___________________________________________________________       Disputed
     Evansville, Indiana 47725
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         9/6/18
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1 ___
                                             ___ 0 ___
                                                    9 ___
                                                        5              Yes


  14 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     318.00
                                                                                                                    $________________________________
     Blue Moon Environmental
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     140 Luke Mercer Rd.
     ___________________________________________________________  Disputed
     Reynolds  Station, Kentucky 42368
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/2/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1 ___
                                             ___ 1 ___
                                                   1 ___
                                                       1               Yes


3.__
  15 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     6,810.50
                                                                                                                    $________________________________
     Booker Electric
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     220 Hamilton Ave.
     ___________________________________________________________       Disputed
     Owensboro,   Kentucky 42303
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



3.__
  16 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Booker's Service Station
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     2821 W. Parrish Ave.
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42301
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/15/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         N ___
                                             ___ o ___
                                                    n ___
                                                        e              Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  17 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            Notice Only
                                                                                                                    $________________________________
     Bowen Thread Auto Service
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     501 Triplett St.
     ___________________________________________________________       Liquidated and neither contingent nor
     Owensboro, Kentucky 42303
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/10/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         5___ 5___ ___
                                                       6 4___          Yes



  18 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     28,788.00
                                                                                                                    $________________________________
     Branch Banking and Trust Company
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     230 Frederica St.
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42301
     ___________________________________________________________
                                                                    Basis for the claim: Guaranty
                                                                                         ________________________

     Date or dates debt was incurred         11/10/17
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         5 ___
                                             ___ 2 ___
                                                    6 ___
                                                        4              Yes


  19 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     450,000.00
                                                                                                                    $________________________________
     Branch Banking and Trust Company
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     230 Frederica St.
     ___________________________________________________________  Disputed
     Owensboro,   Kentucky 42301
     ___________________________________________________________
                                                                    Basis for the claim: Guaranty-AKS  Holdings
                                                                                         ________________________

     Date or dates debt was incurred         5/29/18
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         9 ___
                                             ___ 0 ___
                                                   1 ___
                                                       0               Yes


3.__
  20 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     410.20
                                                                                                                    $________________________________
     Business Equipment Dist., Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     275 Klutey Park Plaza Dr.
     ___________________________________________________________       Disputed
     Henderson,  Kentucky 42420
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/28/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         7___ ___
                                                  9 ___
                                                      5 9___           Yes



3.__
  21 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     169.16
                                                                                                                    $________________________________
     Canon Financial Services, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 5008
     ___________________________________________________________       Disputed
     Mt. Laurel, New Jersey 08054
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         5/13/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1 ___
                                             ___ 6 ___
                                                    7 ___
                                                        1              Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  22 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            Notice Only
                                                                                                                    $________________________________
     Carter Lumber/Kight Lumber
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     2301 Windhaven Dr.
     ___________________________________________________________       Liquidated and neither contingent nor
     Owensboro, Kentucky 42303
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         2/11/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         0___ 0___ ___
                                                       0 1___          Yes



  23 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     1,625.00
                                                                                                                    $________________________________
     CES, LLC
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     18038 Belgium St.
     ___________________________________________________________       Disputed
     Leopold, Indiana 47551
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/18/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         0 ___
                                             ___ 2 ___
                                                    6 ___
                                                        1              Yes


  24 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     923.68
                                                                                                                    $________________________________
     Cintas Corporation
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     7233 Enterprise Park Dr.
     ___________________________________________________________  Disputed
     Evansville, Indiana 47715
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/29/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1 ___
                                             ___ 8 ___
                                                   3 ___
                                                       3               Yes


3.__
  25 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     City of Hawesville
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     359 Main St.
     ___________________________________________________________       Disputed
     Hawesville, Kentucky 42348
     ___________________________________________________________
                                                                    Basis for the claim: 11/9/17 contract
                                                                                         ________________________

     Date or dates debt was incurred         11/9/17
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



3.__
  26 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     City of Orem
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     56 N. State St.
     ___________________________________________________________       Disputed
     Orem, Utah 84057
     ___________________________________________________________
                                                                    Basis for the claim: Contract 11/14/18
                                                                                         ________________________

     Date or dates debt was incurred         11/14/18
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  27 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            153.80
                                                                                                                    $________________________________
     Clean Green Porta Potties, LLC
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     P.O. Box 21622
     ___________________________________________________________       Liquidated and neither contingent nor
     Owensboro, Kentucky 42304
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         2/5/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         4___ 4___ ___
                                                       7 1___          Yes



  28 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     42,840.00
                                                                                                                    $________________________________
     Comfort Design Heating & A/C, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1330 Burlew Blvd.
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42303
     ___________________________________________________________
                                                                    Basis for the claim: Draws  per contract
                                                                                         ________________________

     Date or dates debt was incurred         3/28/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         F ___
                                             ___ o ___
                                                    r ___
                                                        d              Yes


  29 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     2,067.00
                                                                                                                    $________________________________
     Commercial Door and Hardware
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1117 N. 8th St.
     ___________________________________________________________  Disputed
     Paducah,  Kentucky  42001
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/26/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1 ___
                                             ___ 8 ___
                                                   2 ___
                                                       6               Yes


3.__
  30 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Commonwealth of Kentucky, Finance & Adm. Cabinet
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     403 Wapping St. Bush Bldg., 1st Fl.
     ___________________________________________________________       Disputed
     Frankfort, Kentucky 40601-2638
     ___________________________________________________________
                                                                    Basis for the claim: 9/28/18 contract
                                                                                         ________________________

     Date or dates debt was incurred         9/28/18
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



3.__
  31 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     3,182.59
                                                                                                                    $________________________________
     Consolidated Pipe & Supply Co., Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     768 Interstate Dr.
     ___________________________________________________________       Disputed
     Bowling Green, Kentucky 42101
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         5/21/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         0 ___
                                             ___ 5 ___
                                                    5 ___
                                                        2              Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  32 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            3,500.00
                                                                                                                    $________________________________
     Culy Contracting, LLC
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     5 Industrial Park Dr.
     ___________________________________________________________       Liquidated and neither contingent nor
     Winchester, Indiana 47394
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         5/9/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         7___ 1___ ___
                                                       0 5___          Yes



  33 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     12,460.00
                                                                                                                    $________________________________
     D & D Global
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     2672 Rock Ridge Dr.
     ___________________________________________________________       Disputed
     Rock Valley, Iowa 51247
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  34 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     70,943.13
                                                                                                                    $________________________________
     Double D Electrical & Instrumentation, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1321 S. Earl Dr., Ste. A
     ___________________________________________________________  Disputed
     Salt Lake City, Utah 84104
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/15/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         2 ___
                                             ___ 3 ___
                                                   6 ___
                                                       1               Yes


3.__
  35 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     3,500.64
                                                                                                                    $________________________________
     EBN Construction & Industrial Supplies
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1701 E. Columbia St.
     ___________________________________________________________       Disputed
     Evansville, Indiana 47711
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         2/14/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         7___ ___
                                                  0 ___
                                                      1 6___           Yes



3.__
  36 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     1,180.00
                                                                                                                    $________________________________
     Edwards Concrete Construction, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1550 Yokel Rd.
     ___________________________________________________________       Disputed
     Evansville, Indiana 47711
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  37 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            2,185.20
                                                                                                                    $________________________________
     EFCO
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     1000 County Rd.
     ___________________________________________________________       Liquidated and neither contingent nor
     Monett, Missouri 65708
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  38 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     62.96
                                                                                                                    $________________________________
     Elder Pipe & Supply Co., Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1615 Sweeney St.
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42303
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  39 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     1,680.25
                                                                                                                    $________________________________
     Empire Supply, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1904 Ragu Dr.
     ___________________________________________________________  Disputed
     Owensboro,   Kentucky 42303
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/1/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         3 ___
                                             ___ 3 ___
                                                   9 ___
                                                       0               Yes


3.__
  40 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     12,070.10
                                                                                                                    $________________________________
     Enviro-Care
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1570 St. Paul Ave.
     ___________________________________________________________       Disputed
     Gurnee,  Illinois 60031
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



3.__
  41 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     826.80
                                                                                                                    $________________________________
     Erosion Resources & Supply, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     900 N. Baker Rd.
     ___________________________________________________________       Disputed
     Boonville, Indiana 47601
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  42 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            Notice Only
                                                                                                                    $________________________________
     Fastenal
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     1627 Sweeney St.
     ___________________________________________________________       Liquidated and neither contingent nor
     Owensboro, Kentucky 42303
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Credit balance
                                                                                         ________________________

     Date or dates debt was incurred         9/20/18
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1___ 9___ ___
                                                       1 8___          Yes



  43 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     115,845.26
                                                                                                                    $________________________________
     Ferguson Waterworks
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1492 S. 4450 W.
     ___________________________________________________________       Disputed
     Salt Lake City, Utah 84104-5022
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         1/4/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         8 ___
                                             ___ 3 ___
                                                    5 ___
                                                        0              Yes


  44 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     3,905.02
                                                                                                                    $________________________________
     First Insurance
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     450 Skokie Blvd., Ste. 1000
     ___________________________________________________________  Disputed
     Northbrook,  Illinois 60062
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


3.__
  45 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     1,665.00
                                                                                                                    $________________________________
     Gardner Engineering & Consulting, PLLC
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1030 Burlew Blvd., Bldg. B, Ste. 2
     ___________________________________________________________       Disputed
     Owensboro,   Kentucky 42303
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/5/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         5___ ___
                                                  5 ___
                                                      0 1___           Yes



3.__
  46 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     15,820.95
                                                                                                                    $________________________________
     Geneva Pipe
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1465 W. 400 N.
     ___________________________________________________________       Disputed
     Orem, Utah 84057
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         2/27/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         R ___
                                             ___ 7 ___
                                                    5 ___
                                                        0              Yes




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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  47 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            55,582.75
                                                                                                                    $________________________________
     Geneva Rock Products
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     302 W 5400 S Ste. 200
     ___________________________________________________________       Liquidated and neither contingent nor
     Murray, Utah 84107
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  48 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     9,260.50
                                                                                                                    $________________________________
     Gerdts Concrete
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     3950 S. 500 W.
     ___________________________________________________________       Disputed
     Millcreek, Utah
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/26/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         6 ___
                                             ___ 5 ___
                                                    - ___
                                                        2              Yes


  49 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     5,185.56
                                                                                                                    $________________________________
     German American Insurance
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 360
     ___________________________________________________________  Disputed
     Jasper, Indiana 47547-0360
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


3.__
  50 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     5,585.02
                                                                                                                    $________________________________
     Goedecke Construction Equipment and Supplies
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     812 E. Taylor Ave.
     ___________________________________________________________       Disputed
     St. Louis, Missouri 63147
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/5/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1___ ___
                                                  8 ___
                                                      5 3___           Yes



3.__
  51 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Granger-Hunter Improvement District
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     2888 S. 3600 W.
     ___________________________________________________________       Disputed
     West Valley City, Utah 84119
     ___________________________________________________________
                                                                    Basis for the claim: Contract
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  52 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            Unknown
                                                                                                                    $________________________________
     Great American Insurance Group
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     P.O. Box 5425
     ___________________________________________________________       Liquidated and neither contingent nor
     Cincinnati, Ohio 45201-5425
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Surety on bonded jobs
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  53 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     519.97
                                                                                                                    $________________________________
     Greenwell Chisholm Printing Company
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     211 W. 9th St.
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42303
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  54 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Hagerty Steel & Aluminum Company
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     601 N. Main St.
     ___________________________________________________________  Disputed
     East Peoria, Illinois 61611-6130
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         1/11/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         4 ___
                                             ___ 6 ___
                                                   3 ___
                                                       7               Yes


3.__
  55 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     12,211.20
                                                                                                                    $________________________________
     Hancock County Ready Mixed
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 2000
     ___________________________________________________________       Disputed
     Owensboro,   Kentucky 42302-2000
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/22/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1___ ___
                                                  4 ___
                                                      4 4___           Yes



3.__
  56 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Hannan Supply Co.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 270
     ___________________________________________________________       Disputed
     Paducah, Kentucky 42001-0270
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/23/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         6 ___
                                             ___ 1 ___
                                                    3 ___
                                                        2              Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  57 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            19,964.89
                                                                                                                    $________________________________
     Harper Precast
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     P.O. Box 18549
     ___________________________________________________________       Liquidated and neither contingent nor
     Salt Lake City, Utah
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         2/14/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         3___ 1___ ___
                                                       4 0___          Yes



  58 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     2,902.27
                                                                                                                    $________________________________
     Heritage - Crystal Clean
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     2700 East Side Park Rd.
     ___________________________________________________________       Disputed
     Evansville, Indiana 47715
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  59 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     630.67
                                                                                                                    $________________________________
     Honey Bucket
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 73399
     ___________________________________________________________  Disputed
     Puyallup, Washington  98373-0399
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/9/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         4 ___
                                             ___ 3 ___
                                                   1 ___
                                                       4               Yes


3.__
  60 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Hospice of Western Kentucky
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     3419 Wathens Crossing
     ___________________________________________________________       Disputed
     Owensboro,   Kentucky 42301
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         5/1/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         N   o ___
                                             ___ ___ n e___            Yes



3.__
  61 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     12,070.10
                                                                                                                    $________________________________
     HP Thompson Companies
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     101 Main St., Ste. 300
     ___________________________________________________________       Disputed
     Milford, Ohio 45150
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  62 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            1,302.12
                                                                                                                    $________________________________
     Imperial Fastener & Industrial Supply Co.
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     5318 Victory Dr.
     ___________________________________________________________       Liquidated and neither contingent nor
     Indianapolis, Indiana 46203
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         2/18/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         4___ 0___ ___
                                                       0 6___          Yes



  63 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     2,966.45
                                                                                                                    $________________________________
     Industrial Trade Services
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     111 S. 1st St.
     ___________________________________________________________       Disputed
     Monmouth, Illinois 61462
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  64 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Integrity Testing & Inspection, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     3861 Vincent Station Dr.
     ___________________________________________________________  Disputed
     Owensboro,    Kentucky  42303
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/8/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         0 ___
                                             ___ 0 ___
                                                   4 ___
                                                       4               Yes


3.__
  65 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     14,227.62
                                                                                                                    $________________________________
     Irving Materials, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1440 Selinda Ave.
     ___________________________________________________________       Disputed
     Louisville, Kentucky 40213-1954
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/21/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1___ ___
                                                  3 ___
                                                      3 9___           Yes



3.__
  66 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     949.34
                                                                                                                    $________________________________
     J. H. Botts, LLC
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     253 Bruce St.
     ___________________________________________________________       Disputed
     Joliet, Illinois 60432
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/11/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         9 ___
                                             ___ 2 ___
                                                    6 ___
                                                        9              Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  67 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            4,803.85
                                                                                                                    $________________________________
     J. I. Hass Company, Inc.
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     P.O. Box 1635
     ___________________________________________________________       Liquidated and neither contingent nor
     Owensboro, Ken 42302-1635
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/26/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         0___ 4___ ___
                                                       1 7___          Yes



  68 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     750,000.00
                                                                                                                    $________________________________
     John and Angela Scheithe
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1801 Mohawk Dr.
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42301
     ___________________________________________________________
                                                                    Basis for the claim: Loans to corporation
                                                                                         ________________________

     Date or dates debt was incurred         2013
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  69 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     Unknown
                                                                                                                    $________________________________
     John Deere Financial
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 6630
     ___________________________________________________________  Disputed
     Johnston, Iowa 50131
     ___________________________________________________________
                                                                    Basis for the claim: Revolving line of credit
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


3.__
  70 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     4,772.18
                                                                                                                    $________________________________
     KCIT
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     120 W. State St.
     ___________________________________________________________       Disputed
     Frankfort, Kentucky 40601
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



3.__
  71 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     835.00
                                                                                                                    $________________________________
     Kentucky Testing, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     100 Muirfield Dr.
     ___________________________________________________________       Disputed
     Princeton, Kentucky 42445
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/12/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1 ___
                                             ___ 9 ___
                                                    . ___
                                                        4              Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  72 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            7,196.08
                                                                                                                    $________________________________
     Komatsu Equipment
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     1486 S. Distribution Dr.
     ___________________________________________________________       Liquidated and neither contingent nor
     Salt Lake City, Utah 84104
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/19/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         I___ 0___ ___
                                                       0 2___          Yes



  73 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     1,215.01
                                                                                                                    $________________________________
     L & W Supply Corporation
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1515 E. 9th St.
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42303
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/30/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         6 ___
                                             ___ 9 ___
                                                    2 ___
                                                        3              Yes


  74 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     17,843.10
                                                                                                                    $________________________________
     Lone Peak Masonry, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     404 E. Azure Circle
     ___________________________________________________________  Disputed
     Draper, Utah 84020
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         1/24/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1 ___
                                             ___ 2 ___
                                                   3 ___
                                                       5               Yes


3.__
  75 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     9,100.00
                                                                                                                    $________________________________
     Lykins Reinforcing, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 21325
     ___________________________________________________________       Disputed
     Louisville, Kentucky 40221
     ___________________________________________________________
                                                                    Basis for the claim: Draws  per contract
                                                                                         ________________________

     Date or dates debt was incurred         11/30/18
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         0___ ___
                                                  - ___
                                                      # 3___           Yes



3.__
  76 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     5,158.56
                                                                                                                    $________________________________
     Malone Lumber
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     204 W. Depot St.
     ___________________________________________________________       Disputed
     Greenville, Kentucky 42345
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  77 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            1,180.00
                                                                                                                    $________________________________
     McElroy Metal
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     17031 Koala Rd.
     ___________________________________________________________       Liquidated and neither contingent nor
     Adelanto, California 92301
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  78 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     835.16
                                                                                                                    $________________________________
     McMaster-Carr Supply Company
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 4355
     ___________________________________________________________       Disputed
     Chicago, Illinois 60680-4355
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/21/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         7 ___
                                             ___ 6 ___
                                                    0 ___
                                                        0              Yes


  79 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     27,999.86
                                                                                                                    $________________________________
     Midsouth Rentals, LLC
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 1993
     ___________________________________________________________  Disputed
     Owensboro,   Kentucky 42302
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         2/1/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1 ___
                                             ___ 4 ___
                                                   5 ___               Yes


3.__
  80 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     14,625.38
                                                                                                                    $________________________________
     Midwest Mole, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     6814 W. 350 N.
     ___________________________________________________________       Disputed
     Greenfield, Indiana 46140
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         8/31/18
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         3___ ___
                                                  9 ___
                                                      8 6___           Yes



3.__
  81 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     1,530.90
                                                                                                                    $________________________________
     Midwest Rigging Supply
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 22520
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42304
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         12/7/18
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         0 ___
                                             ___ 0 ___
                                                    3 ___
                                                        5              Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  82 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            1,285.59
                                                                                                                    $________________________________
     Miller Paving, Inc.
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     P.O. Box 571039
     ___________________________________________________________       Liquidated and neither contingent nor
     Murray, Utah 84157-1039
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  83 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     1,459.28
                                                                                                                    $________________________________
     Modern Supply Company, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1507 E. 15th St.
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42303
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         1/25/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         0 ___
                                             ___ 2 ___
                                                    0 ___
                                                        6              Yes


  84 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     270.60
                                                                                                                    $________________________________
     Modern Welding Co. of Owensboro, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1450 E. Parrish Ave.
     ___________________________________________________________  Disputed
     Owensboro,   Kentucky 42303
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         5/13/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         5 ___
                                             ___ 5 ___
                                                   1 ___
                                                       0               Yes


3.__
  85 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     2,186.68
                                                                                                                    $________________________________
     Moultrie Manufacturing Company
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     1403 Ga. Hwy. 133 S. P.O. Box 2948
     ___________________________________________________________       Disputed
     Moultrie, Georgia 31776-2948
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         1/31/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1___ ___
                                                  0 ___
                                                      4 1___           Yes



3.__
  86 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     3,531.00
                                                                                                                    $________________________________
     Mountain Crane
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     393 S. 2650 W.
     ___________________________________________________________       Disputed
     Salt Lake City, Utah 84104
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/1/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         0 ___
                                             ___ 0 ___
                                                    0 ___
                                                        1              Yes




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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  87 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            1,750.00
                                                                                                                    $________________________________
     Murphy Excavating, LLC
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     9210 State Route 56
     ___________________________________________________________       Liquidated and neither contingent nor
     Owensboro, Kentucky 42301
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/5/19
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         6___ 5___ ___
                                                       7 2___          Yes



  88 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     882.51
                                                                                                                    $________________________________
     Mutual of Omaha
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     3300 Mutual of Omaha Plaza
     ___________________________________________________________       Disputed
     Omaha, Nebraska 68175
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


  89 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     320,150.00
                                                                                                                    $________________________________
     Norman King Electric, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 21306
     ___________________________________________________________  Disputed
     Owensboro,   Kentucky  42302
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/28/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         8 ___
                                             ___ 0 ___
                                                   1 ___
                                                       7               Yes


3.__
  90 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     71,680.42
                                                                                                                    $________________________________
     Nucor Building Systems
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 1006
     ___________________________________________________________       Disputed
     Swansea,  South Carolina 29160
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         2/1/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         R   1 ___
                                             ___ ___ 0 0___            Yes



3.__
  91 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     5,954.74
                                                                                                                    $________________________________
     On Time Fab, Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     3021 Medley Rd.
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42301
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/5/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         9 ___
                                             ___ - ___
                                                    0 ___
                                                        2              Yes




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            Name                                                  102
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                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  92 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                    Check all that apply.                            4,233.00
                                                                                                                    $________________________________
     Orion Construction
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     32 Market Ave. SW, Ste. 200
     ___________________________________________________________       Liquidated and neither contingent nor
     Grand Rapids, Michigan 49503
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



  93 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     17,949.51
                                                                                                                    $________________________________
     Owensboro Concrete Company
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 2000
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42302-2000
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         3/8/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         1 ___
                                             ___ 3 ___
                                                    7 ___
                                                        5              Yes


  94 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                     228.14
                                                                                                                    $________________________________
     Owensboro Municipal Utilities
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     2070 Tamarack Rd.
     ___________________________________________________________  Disputed
     Owensboro,   Kentucky 42301
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes


3.__
  95 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     Notice Only
                                                                                                                    $________________________________
     Owensboro Riverport Authority
     ___________________________________________________________
                                                                       Contingent
                                                                    
                                                                    X   Unliquidated
     1771 River Rd.
     ___________________________________________________________       Disputed
     Owensboro,   Kentucky 42301
     ___________________________________________________________
                                                                    Basis for the claim: 2/7/18 Contract
                                                                                         ________________________

     Date or dates debt was incurred         2/7/18
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         ___ ___ ___ ___           Yes



3.__
  96 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.
                                                                                                                     185.39
                                                                                                                    $________________________________
     Owensboro Supply Co., Inc.
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     P.O. Box 2029
     ___________________________________________________________       Disputed
     Owensboro, Kentucky 42302-2029
     ___________________________________________________________
                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred         4/29/19
                                             ___________________    Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number         8 ___
                                             ___ 5 ___
                                                    7 ___
                                                        2              Yes




  Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                               24 of ___
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            Name                                                  102
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  97 Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:
                                                                     Check all that apply.                            6,568.74
                                                                                                                     $________________________________
     Pinnacle Computer Services, Inc.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
     640 S. Hebron Ave.
     ___________________________________________________________        Liquidated and neither contingent nor
     Evansville, Indiana 47714-4042
     ___________________________________________________________         disputed

                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          3/22/19
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          6___ 3___ ___
                                                        6 4___          Yes



  98 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      Notice Only
                                                                                                                     $________________________________
     Pogue Electric Service, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     106 Industrial Dr.
     ___________________________________________________________        Disputed
     Greenville, Kentucky 42345
     ___________________________________________________________
                                                                     Basis for the claim: Draw  per contract
                                                                                          ________________________

     Date or dates debt was incurred          3/11/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          5 ___
                                              ___ - ___
                                                     1 ___
                                                         9              Yes


  99 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                      3,977.72
                                                                                                                     $________________________________
     PVF Supply Company, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 1796
     ___________________________________________________________  Disputed
     Owensboro,   Kentucky 42302
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          2/18/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          2 ___
                                              ___ 8 ___
                                                    0 ___
                                                        1               Yes


3.__
  100 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      Notice Only
                                                                                                                     $________________________________
     Raben Tire Co., LLC
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     P.O. Box 4835
     ___________________________________________________________        Disputed
     Evansville, Indiana 47724-0835
     ___________________________________________________________
                                                                     Basis for the claim: Credit balance
                                                                                          ________________________

     Date or dates debt was incurred          12/6/18
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          8___ ___
                                                   8 ___
                                                       8 4___           Yes



3.__
  101 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      2,332.00
                                                                                                                     $________________________________
     Rawdon Myers, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     300 Milford Parkway
     ___________________________________________________________        Disputed
     Milford, Ohio 45150
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          1/31/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          4 ___
                                              ___ 3 ___
                                                     0 ___
                                                         8              Yes




  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                               25 of ___
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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  102 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                            Notice Only
                                                                                                                     $________________________________
     Regional Water Resource Agency
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
     1722 Pleasant Valley Rd.
     ___________________________________________________________        Liquidated and neither contingent nor
     Owensboro, Kentucky 42303
     ___________________________________________________________         disputed

                                                                     Basis for the claim: 9/21/17 contract
                                                                                          ________________________

     Date or dates debt was incurred          9/21/17
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          ___ ___ ___ ___           Yes



  103 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      Notice Only
                                                                                                                     $________________________________
     Rexel Correspondence
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     Attn: Credit Dept. P.O. Box 766
     ___________________________________________________________        Disputed
     Addison, Texas 75001-0766
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          4/29/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          5 ___
                                              ___ 5 ___
                                                     6 ___
                                                         8              Yes


  104 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                      2,943.03
                                                                                                                     $________________________________
     Road Builders, LLC d/b/a Greenville Quarries
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 388
     ___________________________________________________________  Disputed
     Greenville, Kentucky 42345
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          5/13/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          B ___
                                              ___ C ___
                                                    I ___               Yes


3.__
  105 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      5,565.20
                                                                                                                     $________________________________
     Robert I. Merrill Co.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     4049 S. 210 W.
     ___________________________________________________________        Disputed
     Salt Lake City, Utah 84107
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          5/13/19
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          I___ ___
                                                   C ___
                                                       O N___           Yes



3.__
  106 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      Notice Only
                                                                                                                     $________________________________
     S & K Acquisition Corp.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     d/b/a S & K Air Power 5650 Oak Grove Rd.
     ___________________________________________________________        Disputed
     Evansville, Indiana 47715
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          4/15/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          R ___
                                              ___ 4 ___
                                                     0 ___
                                                         0              Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  107 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                            10,884.17
                                                                                                                     $________________________________
     Schrecker Supply Company
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
     1100 Sweeney St.
     ___________________________________________________________        Liquidated and neither contingent nor
     Owensboro, Kentucky 42303
     ___________________________________________________________         disputed

                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          12/4/18
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          7___ 0___ ___
                                                        7 0___          Yes



  108 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      18,759.00
                                                                                                                     $________________________________
     Secure Mechanical Heating & Air Conditioning
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     P.O. Box 1070
     ___________________________________________________________        Disputed
     Riverton, Utah
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          3/5/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          5 ___
                                              ___ 1 ___
                                                     6 ___
                                                         6              Yes


  109 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                      4,485.17
                                                                                                                     $________________________________
     Sherwin Williams Co.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     2740 Frederica St.
     ___________________________________________________________  Disputed
     Owensboro,   Kentucky 42301-5442
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          3/22/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          1 ___
                                              ___ 8 ___
                                                    - ___
                                                        3               Yes


3.__
  110 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      12,460.00
                                                                                                                     $________________________________
     SLC Lawn Services
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     5985 Vista Mesa Dr.
     ___________________________________________________________        Disputed
     West  Valley City, Utah 84128
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          ___ ___ ___ ___           Yes



3.__
  111 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      Notice Only
                                                                                                                     $________________________________
     Smith Manus Surety Bonds
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     2307 River Rd., Ste. 200
     ___________________________________________________________        Disputed
     Louisville, Kentucky 40206
     ___________________________________________________________
                                                                     Basis for the claim: Agent for surety
                                                                                          ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          ___ ___ ___ ___           Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  112 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                            53,999.35
                                                                                                                     $________________________________
     Sorensen Companies, Inc.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
     4185 W. 8370 S.
     ___________________________________________________________        Liquidated and neither contingent nor
     West Jordan, Utah 84088
     ___________________________________________________________         disputed

                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          ___ ___ ___ ___           Yes



  113 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      2,351.80
                                                                                                                     $________________________________
     Sterett Crane & Rigging
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     25 Booth Field Rd.
     ___________________________________________________________        Disputed
     Owensboro, Kentucky 42301
     ___________________________________________________________
                                                                     Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          ___ ___ ___ ___           Yes


  114 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                      22,502.29
                                                                                                                     $________________________________
     Sterett Equipment Company
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 22520
     ___________________________________________________________  Disputed
     Owensboro,   Kentucky 42304
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          1/18/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          - ___
                                              ___ 0 ___
                                                    3 ___
                                                        6               Yes


3.__
  115 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      25,722.92
                                                                                                                     $________________________________
     Sugar Steel Corporation
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     5401 Hwy. 41 N., Ste. 9400
     ___________________________________________________________        Disputed
     Evansville, Indiana 47711-1962
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          3/14/19
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          7___ ___
                                                   4 ___
                                                       7 3___           Yes



3.__
  116 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      1,668.50
                                                                                                                     $________________________________
     Sullivan Mountjoy Stainback
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     100 St. Ann St.
     ___________________________________________________________        Disputed
     Owensboro, Kentucky 42301
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          ___ ___ ___ ___           Yes




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                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  117 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                            91.33
                                                                                                                     $________________________________
     Sunbelt Rentals, Inc.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
     1015 E. Columbia St.
     ___________________________________________________________        Liquidated and neither contingent nor
     Evansville, Indiana 47711
     ___________________________________________________________         disputed

                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          4/16/19
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          2___ 4___ ___
                                                        5 7___          Yes



  118 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      2,495.00
                                                                                                                     $________________________________
     T.A. Gaddis Services, LLC
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     4677 Lonesome Pine Trail
     ___________________________________________________________        Disputed
     Owensboro, Kentucky 42301
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          ___ ___ ___ ___           Yes


  119 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                      29,660.00
                                                                                                                     $________________________________
     TC Sales & Service
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     P.O. Box 963
     ___________________________________________________________  Disputed
     Sandy,  Utah 84070
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          3/29/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          2 ___
                                              ___ 2 ___
                                                    1 ___
                                                        5               Yes


3.__
  120 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      2,485.50
                                                                                                                     $________________________________
     Terracon Consultants, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     6949 S. High Tech Dr., Ste. 100
     ___________________________________________________________        Disputed
     Midvale, Utah 84047-3707
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          12/20/18
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          1___ ___
                                                   1 ___
                                                       9 6___           Yes



3.__
  121 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      14,998.08
                                                                                                                     $________________________________
     Thermal Design
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     P.O. Box 468
     ___________________________________________________________        Disputed
     Madison, Nebraska 68748
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          5/9/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          R ___
                                              ___ L ___
                                                     C ___
                                                         I              Yes




  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                               29 of ___
                                                                                                                                          page __     34
Debtor
           Case   19-40608-thf
            Burlington Civil, Inc.     Doc 1 Filed 07/12/19 EnteredCase
            _______________________________________________________
                                                                      07/12/19      08:39:37 Page 52 of
                                                                        number (if known)_____________________________________
            Name                                                  102
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  122 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                            Notice Only
                                                                                                                     $________________________________
     Triangle Enterprises, Inc.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
     3630 Cairo Rd.
     ___________________________________________________________        Liquidated and neither contingent nor
     Paducah, Kentucky 42001
     ___________________________________________________________         disputed

                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          5/8/19
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          7___ 8___ ___
                                                        3 6___          Yes



  123 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      6,050.00
                                                                                                                     $________________________________
     Twin States Utilities & Excavation, Inc.
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     9344 Old Glasgow Rd.
     ___________________________________________________________        Disputed
     Mt. Hermon, Kentucky 42157
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          ___ ___ ___ ___           Yes


  124 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                      58,061.36
                                                                                                                     $________________________________
     United Rentals
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     1135 S. Pioneer Rd.
     ___________________________________________________________  Disputed
     Salt Lake City, Utah 84104-3716
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          12/18/18
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          6 ___
                                              ___ 7 ___
                                                    9 ___
                                                        0               Yes


3.__
  125 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      27,384.49
                                                                                                                     $________________________________
     Utility Pipe Sales
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     11802 N. Green River Rd.
     ___________________________________________________________        Disputed
     Evansville, Indiana 47725
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          12/19/18
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          1___ ___
                                                   6 ___
                                                       9 8___           Yes



3.__
  126 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      Notice Only
                                                                                                                     $________________________________
     Valor, LLC
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     P.O. Box 1914
     ___________________________________________________________        Disputed
     Owensboro, Kentucky 42302
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          5/16/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          0 ___
                                              ___ 5 ___
                                                     5 ___
                                                         0              Yes




  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                               30 of ___
                                                                                                                                          page __     34
Debtor
           Case   19-40608-thf
            Burlington Civil, Inc.     Doc 1 Filed 07/12/19 EnteredCase
            _______________________________________________________
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                                                                        number (if known)_____________________________________
            Name                                                  102
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  127 Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                            Notice Only
                                                                                                                     $________________________________
     Vermeer of Indiana, Inc.
     ___________________________________________________________        Contingent
                                                                        Unliquidated
                                                                        Disputed
     13402 Britton Park Rd.
     ___________________________________________________________        Liquidated and neither contingent nor
     Fishers, Indiana 46038
     ___________________________________________________________         disputed

                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          2/12/19
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          I___ 0___ ___
                                                        1 0___          Yes



  128 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      9,550.60
                                                                                                                     $________________________________
     Whayne Supply Company
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     3900 Parrish Ave.
     ___________________________________________________________        Disputed
     Owensboro, Kentucky 42301
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          4/14/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          4 ___
                                              ___ 3 ___
                                                     1 ___
                                                         0              Yes


  129 Nonpriority creditor’s name and mailing address
3.__
                                                                     As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                                                                      1,763.75
                                                                                                                     $________________________________
     Whitehead Concrete Pumping, Inc.
     ___________________________________________________________
                                                                  Contingent
                                                                  Unliquidated
     14109 Moore Rd.
     ___________________________________________________________  Disputed
     Marion, Illinois 62959
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          5/8/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          3 ___
                                              ___ 8 ___
                                                    6 ___
                                                        8               Yes


3.__
  130 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      24,261.19
                                                                                                                     $________________________________
     Xylem
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     9745 Hedden Rd.
     ___________________________________________________________        Disputed
     Evansville, Indiana 47725
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          10/25/18
                                               ___________________   Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          0___ ___
                                                   6 ___
                                                       3 1___           Yes



3.__
  131 Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                      20,633.01
                                                                                                                     $________________________________
     Yager Materials, LLC
     ___________________________________________________________
                                                                        Contingent
                                                                        Unliquidated
     Yard 2 P.O. Box 2000
     ___________________________________________________________        Disputed
     Owensboro, Kentucky 42302-2000
     ___________________________________________________________
                                                                     Basis for the claim: Open  account
                                                                                          ________________________

     Date or dates debt was incurred          1/3/19
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     X   No
     Last 4 digits of account number          1 ___
                                              ___ 4 ___
                                                     4 ___
                                                         4              Yes




  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                               31 of ___
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Debtor
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                                                                        number (if known)_____________________________________
            Name                                                  102
 Part 2:   Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__
  132 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                            11,450.00
                                                                                                                    $________________________________
     Yeiser Excavating, Inc.
     ___________________________________________________________       Contingent
                                                                       Unliquidated
                                                                       Disputed
     841 Hill Bridge Rd.
     ___________________________________________________________       Liquidated and neither contingent nor
     Utica, Kentucky 42376
     ___________________________________________________________        disputed

                                                                    Basis for the claim: Open  account
                                                                                         ________________________

     Date or dates debt was incurred          7/20/18
                                              ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          ___ ___ ___ ___          Yes



  133 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     ___________________________________________________________       Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          ___ ___ ___ ___          Yes


  134 Nonpriority creditor’s name and mailing address
3.__
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     ___________________________________________________________       Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          ___ ___ ___ ___          Yes


3.__
  135 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     ___________________________________________________________       Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          ___ ___ ___ ___          Yes



3.__
  136 Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
     ___________________________________________________________
                                                                       Contingent
                                                                       Unliquidated
     ___________________________________________________________       Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred          ___________________   Is the claim subject to offset?
                                                                    
                                                                    X   No
     Last 4 digits of account number          ___ ___ ___ ___          Yes




  Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                              32 of ___
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                                                                             number (if known)_____________________________________
                 Name                                                  102
Part 3:              List Others to Be Notified About Unsecured Claims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.     Daviess     County PVA
         ___________________________________________________________________________________________________
                                                                                                               Line 2.10
                                                                                                                    _____

         212 St. Ann St., Rm. 102
         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         Owensboro, Kentucky,
         _________________________________________________________________                                         _________________________________

4.2.     Southwest Regional Council of Carpenters
         ___________________________________________________________________________________________________
                                                                                                               Line 2.13
                                                                                                                    _____

         Local 801, 8149 S. Welby Park Dr.
         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         West Jordan, Utah,
         _________________________________________________________________                                         _________________________________

4.3.     Office   of the Attorney General
         ___________________________________________________________________________________________________
                                                                                                               Line 2.16
                                                                                                                    _____

         Tax   &  Business Services Div., P.O. Box 140874
         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         Salt Lake City, Utah,
         _________________________________________________________________                                         _________________________________

4.4.     Canon     Financial Services, Inc.
         ___________________________________________________________________________________________________
                                                                                                               Line 3.21
                                                                                                                    _____

         14904 Collections Center Dr.
         _________________________________________________________________                                        Not listed. Explain ________________
                                                                                                                                                          1___ 6___ 7___ 1___
         Chicago, Illinois, 60693-0149
         _________________________________________________________________                                         _________________________________

4.5.     Yager    Materials, LLC
         ___________________________________________________________________________________________________
                                                                                                               Line 3.55
                                                                                                                    _____

         701   E.  2nd St.
         _________________________________________________________________                                        Not listed. Explain ________________   1___ 4___ 4___ 4___
         Owensboro, Kentucky, 42303
         _________________________________________________________________                                         _________________________________

4.6.     Haggard & Stocking
         ___________________________________________________________________________________________________
                                                                                                               Line 3.62
                                                                                                                    _____

         5318 Victory Dr.
         _________________________________________________________________                                        Not listed. Explain ________________   4___ 0___ 0___ 6___
         Indianapolis, Indiana, 46203
         _________________________________________________________________                                         _________________________________

4.7.     Imperial   Fastener & Industrial Supply Co.
         ___________________________________________________________________________________________________
                                                                                                               Line 3.62
                                                                                                                    _____

         4814    N.  Spring St.
         _________________________________________________________________                                        Not listed. Explain ________________
                                                                                                                                                          4___ 0___ 0___ 6___
         Evansville, Indiana, 47711
         _________________________________________________________________                                         _________________________________

4.8.     Lykins Reinforcing, Inc.
         ___________________________________________________________________________________________________
                                                                                                               Line 3.75
                                                                                                                    _____

         8568 Nash Rd.
         _________________________________________________________________                                        Not listed. Explain ________________
                                                                                                                                                          0___ -___ #___ 3___
         Louisville, Kentucky, 40214
         _________________________________________________________________                                         _________________________________

4.9.     McMaster-Carr         Supply Company
         ___________________________________________________________________________________________________
                                                                                                               Line 3.78
                                                                                                                    _____

         600   N.  County     Line  Rd.
         _________________________________________________________________                                        Not listed. Explain ________________
                                                                                                                                                          7___ 6___ 0___ 0___
         Elmhurst, Illinois, 60126-2034
         _________________________________________________________________                                         _________________________________

4.10.    Midsouth Rentals, LLC
         ___________________________________________________________________________________________________
                                                                                                               Line 3.79
                                                                                                                    _____

         2396 Windhaven Dr.
         _________________________________________________________________                                        Not listed. Explain ________________
                                                                                                                                                          1___ 4___ 5___   ___

         Owensboro, Kentucky, 42303
         _________________________________________________________________                                         _________________________________

4.11.    John Deere World Headquarters
         ___________________________________________________________________________________________________
                                                                                                               Line See
                                                                                                                    _____

         1 John Deere Place
         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         Moline, Illinois, 61265
         _________________________________________________________________                                         _________________________________

4.12.
                                                                                                               Line See
                                                                                                                    _____
         Sunbelt    Rentals, Inc.                                                                                                                         2___ 4___ 5___ 7___
                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________
         P.O. Box 409211
         _________________________________________________________________
                                                                                                                   _________________________________
         Atlanta, Georgia, 30384-9211
         _________________________________________________________________




     Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 33    34
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            Name                                                  102
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                               5a.            29,738.51
                                                                                                         $_____________________________




5b. Total claims from Part 2                                                               5b.       +    2,600,822.40
                                                                                                         $_____________________________




5c. Total of Parts 1 and 2                                                                                2,630,560.91
                                                                                               5c.       $_____________________________
    Lines 5a + 5b = 5c.




 Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           34 of ___
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             Case 19-40608-thf                Doc 1        Filed 07/12/19 Entered 07/12/19 08:39:37                                Page 57 of
                                                                       102

 Fill in this information to identify the case:

 Debtor name Burlington  Civil, Inc.
             __________________________________________________________________

                                        Western District of Kentucky
 United States Bankruptcy Court for the:_______________________________________

 Case number (If known):    _________________________                Chapter 7
                                                                             _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       
       X  Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with
                                                                                            whom the debtor has an executory contract or unexpired
                                                                                            lease

         State what the contract or       Unified Lease Agreement dated
                                          ____________________________________             Canon  Solutions America, Inc.
                                                                                           _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         4/19/17
                                          ____________________________________             ATTN: Customer Service Dept.
                                                                                           _________________________________________________________
                                                                                           300 Commerce Square Blvd.
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           Burlington               New Jersey      08016
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             See Attachment 1
                                                                                           _________________________________________________________


         State what the contract or       Contract 11/14/18 2018 Sump
                                          ____________________________________             City of Orem
                                                                                           _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         Rehabilitation
                                          ____________________________________             56 N. State St.
                                                                                           _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           Orem                     Utah            84057
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Contract 2/7/18 installation of
                                          ____________________________________             Owensboro   Riverport Authority
                                                                                           _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         mechanical  conveying equipment
                                          ____________________________________             1771 River Rd.
                                                                                           _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           Owensboro                Kentucky        42301
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Contract 9/21/17 Southwest Master
                                          ____________________________________             Regional Water Resource Agency
                                                                                           _________________________________________________________
 2.4
         lease is for and the nature
        1of the debtor’s interest         Pump  Station
                                          ____________________________________             1722 Pleasant Valley Rd.
                                                                                           _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           Owensboro                Kentucky        42303
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       Contract  9/28/18 Engagement
                                          ____________________________________             Commonwealth    of Kentucky
                                                                                           _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         Skills Facility
                                          ____________________________________             Finance & Administration Cabinet
                                                                                           _________________________________________________________
                                                                                           403 Wapping St., Bush Bldg., 1st Fl.
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           Frankfort                Kentucky        40601-2638
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________



Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        2
                                                                                                                                              page 1 of ___
             Case 19-40608-thf             Doc 1     Filed 07/12/19 Entered 07/12/19 08:39:37                         Page 58 of
                                                                 102
Debtor          Burlington  Civil, Inc.
                _______________________________________________________                Case number (if known)_____________________________________
                Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

        List all contracts and unexpired leases                                  State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease


          State what the contract or    Contract ___ 18C: Meter 80 Piping
                                        ____________________________________     Granger-Hunter  Improvement District
                                                                                 _________________________________________________________
   6
 2._      lease is for and the nature
          of the debtor’s interest      & Breeze Chemical Feed project
                                        ____________________________________     2888 S. 3600 W.
                                                                                 _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 West  Valley City        Utah            84119
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________



          State what the contract or    Contract 11/9/17 Wastewater
                                        ____________________________________     City of Hawesville
                                                                                 _________________________________________________________
   7
 2._      lease is for and the nature
          of the debtor’s interest      Treatment  Plant
                                        ____________________________________     359  Main St.
                                                                                 _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 Hawesville               Kentucky        42348
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________



          State what the contract or    Agreement   of Indemnity dated
                                        ____________________________________     Great American Insurance Group
                                                                                 _________________________________________________________
   8
 2._      lease is for and the nature
          of the debtor’s interest      4/3/15
                                        ____________________________________     P.O. Box 5425
                                                                                 _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 Cincinnati               Ohio            45201-5425
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________


          State what the contract or    ____________________________________     Nomlaki  Technologies, LLC
                                                                                 _________________________________________________________
   9
 2._      lease is for and the nature
          of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________


          State what the contract or    Lease  of business premises
                                        ____________________________________     AKS  Holdings, LLC
                                                                                 _________________________________________________________
   10
 2._      lease is for and the nature
          of the debtor’s interest      ____________________________________     1801 Mohawk Dr.
                                                                                 _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 Owensboro                Kentucky        42301
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________


          State what the contract or    ____________________________________     _________________________________________________________
   11
 2._      lease is for and the nature
          of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________


          State what the contract or    ____________________________________     _________________________________________________________
   12
 2._      lease is for and the nature
          of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                 _________________________________________________________
          State the term remaining      ____________________________________
                                                                                 _________________________________________________________
          List the contract number of
          any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                       Schedule G: Executory Contracts and Unexpired Leases                                          2 of ___
                                                                                                                                  page ___    2
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                                                                102

                                                  Attachment
                                      Debtor: Burlington Civil, Inc. Case No:


Attachment 1
     Additional Contacts for Executory Contract With Canon Solutions America, Inc. (ATTN: Customer Service Dept., Burlington, New Jersey 08016):
     Canon Financial Services, Inc.
     Attn: Customer Service Dept.
     158 Gaither Dr., Ste. 200
     Mt. Laurel, New Jersey 08054
             Case 19-40608-thf                  Doc 1      Filed 07/12/19 Entered 07/12/19 08:39:37                                Page 60 of
                                                                       102
 Fill in this information to identify the case:

 Debtor name Burlington Civil, Inc.
             __________________________________________________________________

                                        Western District of Kentucky
 United States Bankruptcy Court for the:_______________________________________

 Case number (If known):    _________________________




                                                                                                                                         Check if this is an
                                                                                                                                            amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                   12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


  1. Does the debtor have any codebtors?
           No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        
        X   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
        creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
        schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
             Name                      Mailing address                                                    Name
                                                                                                                                             that apply:


  2.1     AKS Equipment,
          _____________________        1801 Mohawk Dr.
                                       ________________________________________________________            Branch Banking and
                                                                                                           _____________________               D                  
          LLC                          Street
                                                                                                           Trust Company                      
                                                                                                                                              X E/F
                                       ________________________________________________________                                                G
                                       Owensboro               Kentucky        42301
                                       ________________________________________________________
                                       City                        State              ZIP Code

                                                                                                                                                                   
  2.2
          AKS Holdings, LLC
          _____________________        1801 Mohawk
                                       ________________________________________________________            Branch  Banking and
                                                                                                           _____________________               D
                                       Street
                                                                                                           Trust Company                      
                                                                                                                                              X E/F
                                       ________________________________________________________                                                G
                                       Owensboro               Kentucky        42301
                                       ________________________________________________________
                                       City                        State              ZIP Code

                                                                                                                                                                   
  2.3
          John R. Scheithe
          _____________________        1801 Mohawk Dr.
                                       ________________________________________________________            Branch  Banking and
                                                                                                           _____________________              
                                                                                                                                              X D
                                       Street
                                                                                                           Trust Company                      
                                                                                                                                              X E/F
                                       ________________________________________________________                                                G
                                       Owensboro               Kentucky        42301
                                       ________________________________________________________            See Attachment 1
                                       City                        State              ZIP Code
                                                                                                                                                                   
  2.4
          _____________________        ________________________________________________________            _____________________               D
                                       Street                                                                                                 E/F
                                       ________________________________________________________                                                G

                                       ________________________________________________________
                                       City                        State              ZIP Code
                                                                                                                                                                   
  2.5
          _____________________        ________________________________________________________            _____________________               D
                                       Street                                                                                                 E/F
                                       ________________________________________________________                                                G

                                       ________________________________________________________
                                       City                        State              ZIP Code
                                                                                                                                                                   
  2.6
          _____________________        ________________________________________________________            _____________________               D
                                       Street                                                                                                 E/F
                                       ________________________________________________________                                                G

                                       ________________________________________________________
                                       City                        State              ZIP Code


Official Form 206H                                              Schedule H: Codebtors                                                         page 1 of 1
                                                                                                                                                        ___
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                                                             102

                                               Attachment
                                   Debtor: Burlington Civil, Inc. Case No:


Attachment 1
     Branch Banking and Trust Company, Schedule E/F
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                                                                     102
 Fill in this information to identify the case and this filing:


 Debtor Name Burlington Civil, Inc.
             __________________________________________________________________

                                                Western District Of Kentucky
 United States Bankruptcy Court for the: ______________________________________

 Case number (If known):    _________________________                                                 ___________________________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         X    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         X    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         X    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         X    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         X    Schedule H: Codebtors (Official Form 206H)

         
         X    A Summary of Assets and Liabilities for Non-Individuals (Official Form 206–Summary)

             Amended Schedule ________


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    07/12/2019
        Executed on ______________                         /s/John R. Scheithe
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                John  R. Scheithe
                                                                ________________________________________________________________________
                                                                Printed name


                                                                President  and sole shareholder
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form B202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
            Case 19-40608-thf                 Doc 1        Filed 07/12/19 Entered 07/12/19 08:39:37                                Page 63 of
                                                                       102

Fill in this information to identify the case:

Debtor name Burlington Civil, Inc.
            __________________________________________________________________

United States Bankruptcy Court for the: Western District of Kentucky
                                        _______________________________________

Case number (If known):   _________________________                                                ___________________________________________



                                                                                                                                        Check if this is an
                                                                                                                                           amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                      04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                     Gross revenue
            may be a calendar year                                                            Check all that apply                   (before deductions and
                                                                                                                                     exclusions)

           From the beginning of the                                                           
                                                                                               X   Operating a business
           fiscal year to filing date:     From 01/01/2019
                                                ___________         to     Filing date            Other _______________________     $2,350,192.00
                                                                                                                                      ________________
                                                  MM / DD / YYYY


           For prior year:                 From 01/01/2018
                                                ___________         to     12/31/2018
                                                                           ___________         
                                                                                               X   Operating a business
                                                                                                                                     $5,394,186.00
                                                                                                                                      ________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________

           For the year before that:       From 01/01/2017
                                                ___________         to     12/31/2017
                                                                           ___________         
                                                                                               X   Operating a business
                                                                                                                                     $4,706,548.00
                                                                                                                                      ________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     X   None

                                                                                               Description of sources of revenue     Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

           From the beginning of the
                                                                                              ________________________________      $________________
           fiscal year to filing date:      From ___________        to      Filing date
                                                  MM / DD / YYYY



           For prior year:                From    ___________       to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ________________________________      $________________



           For the year before that:      From    ___________       to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ________________________________      $________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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                                                                            102
Debtor              Burlington Civil, Inc.
                    _______________________________________________________                    Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                           Dates      Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             Airgas USA, LLC
             __________________________________________           04/24/19
                                                                  ________     $6,839.85
                                                                                _________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             P.O. Box 9249
             __________________________________________
             Street                                               06/21/19
                                                                  ________                                  
                                                                                                            X     Suppliers or vendors
             __________________________________________                                                          Services
             Marietta GA 30065-2249
             __________________________________________           ________                                       Other _______________________________
             City                          State     ZIP Code
              
     3.2.

             Branch  Banking and Trust Company
             __________________________________________           05/21/19
                                                                  ________     $71,945.64
                                                                                _________________           
                                                                                                            X     Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             230 Frederica St.
             __________________________________________
             Street                                               05/24/19
                                                                  ________                                       Suppliers or vendors
             __________________________________________                                                          Services
             Owensboro    KY 42301-3003
             __________________________________________
             City                          State     ZIP Code
                                                                  05/29/19
                                                                  ________                                       Other _______________________________
                                                                  See Attachment 1                                           See Attachment 2
 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     
     X      None

             Insider’s name and address                            Dates      Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________           _________   $__________________         ___________________________________________
             Insider’s name
             __________________________________________           _________                               ___________________________________________
             Street
             __________________________________________           _________                               ___________________________________________
             __________________________________________
             City                          State     ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________           _________   $__________________         ___________________________________________
             Insider’s name
             __________________________________________           _________                               ___________________________________________
             Street
             __________________________________________           _________                               ___________________________________________
             __________________________________________
             City                          State     ZIP Code



             Relationship to debtor

             __________________________________________



Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 2
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                                                                               102
Debtor              Burlington Civil, Inc.
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     
     X      None
            Creditor’s name and address                               Description of the property                                    Date               Value of property
     5.1.

            __________________________________________                ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________                ___________________________________________
            Street
            __________________________________________                ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.1.

            __________________________________________                ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________                ___________________________________________
            Street
            __________________________________________                ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     
     X      None
             Creditor’s name and address                                Description of the action creditor took                      Date action was       Amount
                                                                                                                                     taken

             __________________________________________               ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________               ___________________________________________
             Street
             __________________________________________
             __________________________________________               Last 4 digits of account number: XXXX– __ __ __ __
             City                          State        ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

     
     X      None
             Case title                                    Nature of case                            Court or agency’s name and address                  Status of case

     7.1.
             _________________________________             ______________________________           __________________________________________              Pending
                                                                                                    Name
                                                                                                                                                            On appeal
                                                                                                    __________________________________________
             Case number                                                                            Street                                                  Concluded
                                                                                                    __________________________________________
             _________________________________                                                      __________________________________________
                                                                                                    City                   State             ZIP Code
              

             Case title                                                                               Court or agency’s name and address
                                                                                                                                                            Pending
     7.2.
             _________________________________             ______________________________           __________________________________________              On appeal
                                                                                                    Name

             Case number                                                                            __________________________________________
                                                                                                                                                            Concluded
                                                                                                    Street
                                                                                                    __________________________________________
             _________________________________
                                                                                                    __________________________________________
                                                                                                    City                           State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
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                                                                               102
Debtor               Burlington Civil, Inc.
                     _______________________________________________________                             Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership

     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     
     X      None
              Custodian’s name and address                            Description of the property                        Value

             __________________________________________               ______________________________________             $_____________
             Custodian’s name
                                                                      Case title                                         Court name and address
             __________________________________________
             Street
                                                                      ______________________________________           __________________________________________
             __________________________________________                                                                Name
             __________________________________________               Case number                                      __________________________________________
             City                          State        ZIP Code                                                       Street
                                                                      ______________________________________           __________________________________________
                                                                      Date of order or assignment                      __________________________________________
                                                                                                                       City                 State               ZIP Code

                                                                      ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     
     X      None
             Recipient’s name and address                             Description of the gifts or contributions                   Dates given           Value


            __________________________________________                ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________                ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________                ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________                ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     
     X      None
             Description of the property lost and how the loss        Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                                 If you have received payments to cover the loss, for                            lost
                                                                      example, from insurance, government compensation, or
                                                                      tort liability, list the total received.
                                                                      List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                      Assets – Real and Personal Property).


             ___________________________________________              ___________________________________________                 _________________   $__________
             ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 4
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                                                                          102
Debtor             Burlington Civil, Inc.
                   _______________________________________________________                           Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?           If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                                value


   11.1.
            R. Stephen LaPlante, Esq.
            __________________________________________
                                                                 Payments  on May 31 and June 24, 2019
                                                                 ___________________________________________
                                                                                                                            ______________      $10,000.00
                                                                                                                                                 _________
            Address
                                                                 ___________________________________________
            101 N.W. First St., Ste. 116
            __________________________________________
            Street
            P.O. Box 3556
            __________________________________________
            Evansville IN 47734
            __________________________________________
            City                        State      ZIP Code


            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?           If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                                value


   11.2.    __________________________________________           ___________________________________________
                                                                                                                            ______________      $_________
            Address                                              ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________

            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary

     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     X     None

            Name of trust or device                              Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                             were made          value


            __________________________________________           ___________________________________________                 ______________      $_________

            Trustee                                              ___________________________________________
            __________________________________________




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 5
             Case 19-40608-thf                  Doc 1        Filed 07/12/19 Entered 07/12/19 08:39:37                              Page 68 of
                                                                         102
Debtor             Burlington Civil, Inc.
                   _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    Angela Scheithe
            __________________________________________           2016 BMW X5 in exchange for payment of
                                                                 ___________________________________________                5/8/19
                                                                                                                            ________________     33,000.00
                                                                                                                                                $_________

            Address
                                                                 vehicle loan
                                                                 ___________________________________________

            1801  Mohawk Dr.
            __________________________________________
            Street
            __________________________________________
            Owensboro    KY 42301
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            None
            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

     
     X     Does not apply
            Address                                                                                              Dates of occupancy


   14.1.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


   14.2.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 6
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                                                                        102
Debtor             Burlington Civil, Inc.
                   _______________________________________________________                           Case number (if known)_____________________________________
                   Name




 Part 8:           Healthcare Bankruptcies

 15. Healthcare bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     X     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the              If debtor provides meals
                                                               debtor provides                                                               and housing, number of
                                                                                                                                             patients in debtor’s care

   15.1.     ________________________________________          ___________________________________________________________                   ____________________
            Facility name
                                                               ____________________________________________________________
             ________________________________________
            Street                                             Location where patient records are maintained (if different from facility     How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                             Check all that apply:
                                                               ____________________________________________________________
             ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                              Electronically
                                                                                                                                             Paper

            Facility name and address                          Nature of the business operation, including type of services the              If debtor provides meals
                                                               debtor provides                                                               and housing, number of
                                                                                                                                             patients in debtor’s care

   15.2.     ________________________________________          ___________________________________________________________                   ____________________
            Facility name
                                                               ___________________________________________________________
             ________________________________________
            Street                                             Location where patient records are maintained (if different from facility     How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                             Check all that apply:
                                                               ____________________________________________________________
             ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                              Electronically
                                                                                                                                             Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     X     Yes. State the nature of the information collected and retained. Employer  Identification Numbers of vendors
                                                                            ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
                
                 X    No
                      Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
     
     X     Yes. Does the debtor serve as plan administrator?
                   
                   X   No. Go to Part 10.
                      Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan

                          _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                       Has the plan been terminated?
                           No
                           Yes


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Debtor              Burlington Civil, Inc.
                    _______________________________________________________                       Case number (if known)_____________________________________
                    Name




 Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     X     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
             Name
                                                                                            Savings
             ______________________________________
             Street                                                                         Money market
             ______________________________________
                                                                                            Brokerage
             ______________________________________
             City                  State      ZIP Code                                      Other______________

   18.2.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
             Name
                                                                                            Savings
             ______________________________________
             Street                                                                         Money market
             ______________________________________
                                                                                            Brokerage
             ______________________________________
             City                  State      ZIP Code                                      Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     X     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________       __________________________________          __________________________________                 No
             Name
                                                          __________________________________          __________________________________
                                                                                                                                                         Yes
             ______________________________________
             Street                                       __________________________________          __________________________________             
             ______________________________________
             ______________________________________
             City                  State      ZIP Code
                                                           Address
                                                                                                                                                     
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                      
                                                                                                                                                      X No
             AAA Rent-a-Space West
             ______________________________________       John Scheithe; Mike Canary
                                                          __________________________________          Pumps  and materials for Regional
                                                                                                      __________________________________
                                                                                                                                                       Yes
             Name
            2731  W. Fourth St.                           __________________________________          Water Resource Agency job
                                                                                                      __________________________________              
            ______________________________________
             Street                                       __________________________________          __________________________________
             ______________________________________
            Owensboro    KY 42301
            ______________________________________          Address                                                                                   
             City                  State      ZIP Code
                                                           2601  W. Fourth St., Owensboro,
                                                           ________________________________
                                                           Kentucky  42301
                                                           _________________________________



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Debtor           Burlington Civil, Inc.
                 _______________________________________________________                              Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

        None

          Owner’s name and address                              Location of the property                  Description of the property                 Value


          AKS Equipment, LLC                                    2601  W. 4th St., Owensboro,              Equipment  (AKS Equipment);                  Unknown
                                                                                                                                                      $_______
          ______________________________________                __________________________________        __________________________________
          Name
          AKS Holdings, LLC                                     Kentucky
                                                                __________________________________        business premises  (AKS Holdings)
                                                                                                          __________________________________
          ______________________________________
          Street                                                __________________________________        __________________________________
          1801 Mohawk Dr.
          ______________________________________
          Owensboro KY 42301
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium)
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     X   No
        Yes. Provide details below.
          Case title                                     Court or agency name and address                 Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________            __________________________________         Pending
          Case number                                    Name
                                                                                                          __________________________________
                                                                                                                                                     On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                     Concluded
                                                                                                          __________________________________
                                                         _____________________________________                                                    
                                                         _____________________________________
                                                         City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     X   No
        Yes. Provide details below.

          Site name and address                          Governmental unit name and address               Environmental law, if known            Date of notice


          __________________________________             _____________________________________            __________________________________       __________
          Name                                           Name
                                                                                                          __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                           __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State      ZIP Code




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Debtor             Burlington Civil, Inc.
                   _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     X     No
          Yes. Provide details below.

            Site name and address                     Governmental unit name and address              Environmental law, if known                Date of notice


            __________________________________        ______________________________________          __________________________________           __________
            Name                                      Name
                                                                                                      __________________________________
            __________________________________        ______________________________________
            Street                                    Street                                          __________________________________
            __________________________________        ______________________________________
            __________________________________        ______________________________________
            City                  State    ZIP Code   City                State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     X     None


            Business name and address                 Describe the nature of the business                      Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.    __________________________________        _____________________________________________
            Name                                                                                               Dates business existed
                                                      _____________________________________________
            __________________________________
            Street                                    _____________________________________________
            __________________________________                                                                 From _______         To _______
            __________________________________
            City                  State    ZIP Code




            Business name and address                 Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                       Do not include Social Security number or ITIN.

            __________________________________        _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                                                                               Dates business existed
                                                      _____________________________________________
            __________________________________
            Street                                    _____________________________________________
            __________________________________                                                                 From _______         To _______
            __________________________________
            City                  State    ZIP Code



            Business name and address                 Describe the nature of the business                      Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

   25.3.    __________________________________        _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                      _____________________________________________            Dates business existed
            __________________________________
            Street                                    _____________________________________________
            __________________________________
            __________________________________
                                                                                                               From _______         To _______
            City                  State    ZIP Code




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Debtor            Burlington Civil, Inc.
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service

                                                                                                                From 08/01/2018
                                                                                                                     _______    To _______
   26a.1.     Leigh Ann Weinzapfel, CPA
              __________________________________________________________________________________
              Name
              1301 Mortensen Ln.
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              Evansville IN 47715
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                From 12/01/2018
                                                                                                                     _______    To _______
   26a.2.     Riney Hancock, CPAs, PSC
              __________________________________________________________________________________
              Name
              2900 Veach Rd., Ste. 2
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              Owensboro KY 42303
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                     Name and address                                                                           Dates of service

                                                                                                                From 01/01/2010
                                                                                                                     _______    To _______
         26b.1.      Weinzapfel & Co., LLC
                     ______________________________________________________________________________
                     Name
                     1301 Mortensen Ln
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     Evansville IN 47715
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.2.      ______________________________________________________________________________
                     Name
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                     Name and address                                                                           If any books of account and records are
                                                                                                                unavailable, explain why


         26c.1.      John and Angela Scheithe
                     ______________________________________________________________________________             _________________________________________
                     Name
                                                                                                                _________________________________________
                     1801 Mohawk Dr.
                     ______________________________________________________________________________
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                     Owensboro KY 42301
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



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Debtor               Burlington Civil, Inc.
                     _______________________________________________________                        Case number (if known)_____________________________________
                     Name




                       Name and address                                                                         If any books of account and records are
                                                                                                                unavailable, explain why


           26c.2.      Weinzapfel & Co., LLC and Riney Hancock, CPAs, PSC
                       ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       See above
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                    None

                       Name and address


           26d.2.      BB&T
                       ______________________________________________________________________________
                       Name
                       100 W E. Third St.
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       Owensboro KY 42303
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      Great American Insurance Group
                       ______________________________________________________________________________
                       Name
                       P.O. Box 5425
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       Cincinnati OH 45201-5425
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
  
  X         No
          Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory


              ______________________________________________________________________               _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




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Debtor             Burlington Civil, Inc.
                   _______________________________________________________                     Case number (if known)_____________________________________
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______       $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                             Position and nature of any interest     % of interest, if any

            John Scheithe
            ____________________________        1801 Mohawk Dr., Owensboro, KY 42301
                                                ____________________________________________        Officer - Shareholder
                                                                                                    ____________________________             100.0000
                                                                                                                                             _______________

            ____________________________        ,____________________________________________
                                                  ,                                                 -____________________________            _______________

            ____________________________        ,____________________________________________
                                                  ,                                                 -____________________________            _______________

            ____________________________        ,____________________________________________
                                                  ,                                                 -____________________________            _______________

            ____________________________        ,____________________________________________
                                                  ,                                                 -____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
  
  X        No
         Yes. Identify below.

            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
            ____________________________        ,_____________________________________________
                                                  ,                                                   -______________________        From _____ To _____

            ____________________________        ,_____________________________________________
                                                  ,                                                   -______________________        From _____ To _____

            ____________________________        ,_____________________________________________
                                                  ,                                                   -______________________        From _____ To _____

            ____________________________        ,_____________________________________________
                                                  ,                                                   -______________________        From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
 
  X        Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.    John Scheithe
            ______________________________________________________________            $125,000.00  annually
                                                                                      _________________________          Paid
                                                                                                                         _____________       Salary
                                                                                                                                             ____________
            Name
            1801  Mohawk Dr.
            ______________________________________________________________
            Street                                                                                                       bi-weekly
                                                                                                                         _____________
            ______________________________________________________________
            Owensboro    KY 42301
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________

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Debtor               Burlington Civil, Inc.
                     _______________________________________________________                        Case number (if known)_____________________________________
                     Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

              ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                           State         ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     X     No
          Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

             ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     X     No
          Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

             ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:              Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the
             information is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on      07/12/2019
                              _________________
                               MM / DD / YYYY



         /s/John R. Scheithe
             ___________________________________________________________                               John R. Scheithe
                                                                                          Printed name _________________________________________________
             Signature of individual signing on behalf of the debtor

             Position or relationship to debtor President and sole shareholder
                                                ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         
         X    No
             Yes



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                                               Attachment        (1/4)
                                      Debtor: Burlington Civil, Inc. Case No:


Attachment 1
     Additional Payments to Branch Banking and Trust Company: 31 May 2019
Attachment 2 Additional Payments or Transfers to Creditors:
     Creditor's Name: BD Jones
     Date of Payments or Transfers: April 24, 2019
     Total Amount or Value: $133,273.56

    Creditor's Name: Comfort Design Heating & A/C, Inc.
    Creditor's Address: 1330 Burlew Blvd., Owensboro, Kentucky 42303
    Date of Payments or Transfers: June 18, 2019
    Total Amount or Value: $14,375.52
    Reasons for Payment or Transfer: Suppliers or vendors

    Creditor's Name: Culy Contracting, LLC
    Creditor's Address: 5 Industrial Park Dr., Winchester, Indiana 47394
    Date of Payments or Transfers: April 18, 2019
    Total Amount or Value: $23,400.00
    Reasons for Payment or Transfer: Suppliers or vendors

    Creditor's Name: Evoqua
    Date of Payments or Transfers: April 12, 2019
    Total Amount or Value: $28,754.22
    Reasons for Payment or Transfer: Suppliers or vendors

    Creditor's Name: Ferguson Waterworks
    Creditor's Address: 1492 S. 4450 W., Salt Lake City, Utah 84104-5022
    Date of Payments or Transfers: April 24, 2019; June 21, 2019
    Total Amount or Value: $24,505.93
    Reasons for Payment or Transfer: Suppliers or vendors

    Creditor's Name: Flo Trend
    Date of Payments or Transfers: April 12, 2019; June 21, 2019
    Total Amount or Value: $46,618.80
    Reasons for Payment or Transfer: Suppliers or vendors

    Creditor's Name: German American
    Date of Payments or Transfers: May 31, 2019
    Total Amount or Value: $9,330.03
    Reasons for Payment or Transfer: Services

    Creditor's Name: Great Lakes Power Service
    Date of Payments or Transfers: April 12, 2019
    Total Amount or Value: $18,730.00
    Reasons for Payment or Transfer: Services

    Creditor's Name: Industrial Trade Services
    Date of Payments or Transfers: April 25, 2019; May 24, 2019
    Total Amount or Value: $14,439.07
    Reasons for Payment or Transfer: Services

    Creditor's Name: IUOE Local 181
    Creditor's Address: 700 N. Elm St., Henderson, Kentucky 42419-0034
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                                           Attachment        (2/4)
                                  Debtor: Burlington Civil, Inc. Case No:

Date of Payments or Transfers: April 12, 2019; May 15, 2019; June 15, 2019
Total Amount or Value: $11,175.13
Reasons for Payment or Transfer: Central Pension Fund

Creditor's Name: IUOE Local 181
Creditor's Address: 700 N. Elm St., Henderson, Kentucky 42419-0034
Date of Payments or Transfers: April 12, 2019; May 15, 2019; June 15, 2019
Total Amount or Value: $14,613.63
Reasons for Payment or Transfer: Health & Welfare Fund

Creditor's Name: IUOE Local 03
Creditor's Address: 8805 S. Sandy Parkway, Sandy, Utah 84070
Date of Payments or Transfers: April 12, 2019; May 15, 2019; June 15, 2019
Total Amount or Value: $10,916.07
Reasons for Payment or Transfer: Union dues

Creditor's Name: Ironworkers Local 103
Creditor's Address: 5313 Old Boonville Hwy., Evansville, Indiana 47715
Date of Payments or Transfers: May 15, 2019; June 15, 2019
Total Amount or Value: $33,593.04
Reasons for Payment or Transfer: Fringe benefits fund

Creditor's Name: Jones Excavating
Date of Payments or Transfers: April 18, 2019
Total Amount or Value: $31,160.00
Reasons for Payment or Transfer: Suppliers or vendors

Creditor's Name: Commonwealth of Kentucky, Dept. of Revenue
Creditor's Address: Legal Support Branch, P.O. Box 5222, Frankfort, Kentucky 40602
Date of Payments or Transfers: April 15, 2019; April 29, 2019; May 13, 2019; May 15, 2019; May 15, 2019; May 15, 2019; May 29, 2019
Total Amount or Value: $10,110.89
Reasons for Payment or Transfer: Taxes

Creditor's Name: Lone Peak Masonry, LLC
Creditor's Address: 404 E. Azure Circle, Draper, Utah 84020
Date of Payments or Transfers: June 7, 2019
Total Amount or Value: $14,598.90
Reasons for Payment or Transfer: Services

Creditor's Name: Lynn Steinhiser
Date of Payments or Transfers: April 25, 2019
Total Amount or Value: $12,500.00

Creditor's Name: Mike Canary
Date of Payments or Transfers: April 5, 2019; May 3, 2019; May 31, 2019; June 17, 2019
Total Amount or Value: $9,663.42

Creditor's Name: Pacific Corrugated Pipe Co.
Date of Payments or Transfers: April 18, 2019
Total Amount or Value: $19,818.24
Reasons for Payment or Transfer: Suppliers or vendors
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                                            Attachment        (3/4)
                                   Debtor: Burlington Civil, Inc. Case No:

Creditor's Name: Rawdon Myers
Date of Payments or Transfers: April 12, 2019
Total Amount or Value: $8,352.00
Reasons for Payment or Transfer: Unsecured loan repayments          Suppliers or vendors

Creditor's Name: Carpenters Local 224
Creditor's Address: 5370 Covert Ct., Newburgh, Indiana 47630
Date of Payments or Transfers: April 16, 2019; May 22, 2019
Total Amount or Value: $57,021.43
Reasons for Payment or Transfer: Union dues - Locals 224 & 1076

Creditor's Name: Sterett Equipment Company
Creditor's Address: P.O. Box 22520, Owensboro, Kentucky 42304
Date of Payments or Transfers: April 28, 2019
Total Amount or Value: $11,083.36
Reasons for Payment or Transfer: Suppliers or vendors

Creditor's Name: Sugar Steel Corporation
Creditor's Address: 5401 Hwy. 41 N., Ste. 9400, Evansville, Indiana 47711-1962
Date of Payments or Transfers: May 6, 2019; June 13, 2019
Total Amount or Value: $12,663.89
Reasons for Payment or Transfer: Suppliers or vendors

Creditor's Name: Sunbelt Rentals, Inc.
Creditor's Address: 1015 E. Columbia St., Evansville, Indiana 47711
Date of Payments or Transfers: June 14, 2019
Total Amount or Value: $13,468.25
Reasons for Payment or Transfer: Services

Creditor's Name: Plumbers and Pipefitters Local 633
Creditor's Address: 3128 Alvey Park Dr. W., Owensboro, Kentucky 42303
Date of Payments or Transfers: April 10, 2019; May 15, 2019; June 15, 2019
Total Amount or Value: $13,940.60
Reasons for Payment or Transfer: Health & Welfare Trust

Creditor's Name: Plumbers and Pipefitters Local 633
Creditor's Address: 3128 Alvey Park Dr. W., Owensboro, Kentucky 42303
Date of Payments or Transfers: April 10, 2019; May 15, 2019; June 15, 2019
Total Amount or Value: $11,022.80
Reasons for Payment or Transfer: Pension fund

Creditor's Name: United Rentals
Creditor's Address: 1135 S. Pioneer Rd., Salt Lake City, Utah 84104-3716
Date of Payments or Transfers: April 24, 2019; May 22, 2019
Total Amount or Value: $21,726.49
Reasons for Payment or Transfer: Services

Creditor's Name: Internal Revenue Service
Creditor's Address: P.O. Box 7346, Philadelphia, Pennsylvania 19101-7346
Date of Payments or Transfers: April 15, 2019; April 15, 2019; April 19, 2019; April 25, 2019; May 2, 2019; May 13, 2019; May 22, 2019; May 28,
2019; June 3, 2019; June 13, 2019; June 14, 2019; June 19, 2019
Total Amount or Value: $89,475.13
      Case 19-40608-thf             Doc 1        Filed 07/12/19 Entered 07/12/19 08:39:37                Page 80 of
                                                             102

                                           Attachment        (4/4)
                                  Debtor: Burlington Civil, Inc. Case No:

Reasons for Payment or Transfer: Withholding taxes

Creditor's Name: Ziemer, Stayman, Weitzel & Shoulders
Date of Payments or Transfers: May 31, 2019; June 14, 2019
Total Amount or Value: $8,899.50
Reasons for Payment or Transfer: Services

Creditor's Name: AKS Equipment, LLC
Creditor's Address: c/o John Scheithe, Registered Agent, 2601 W. 4th St., Owensboro, Kentucky 42301
Date of Payments or Transfers: April 10, 2019; April 26, 2019; May 2, 2019; May 10, 2019; May 22, 2019
Total Amount or Value: $18,500.00
Reasons for Payment or Transfer: Rent of equipment

Creditor's Name: AKS Holdings, LLC
Creditor's Address: c/o John Scheithe, Registered Agent, 1801 Mohawk Dr., Owensboro, Kentucky 42301
Date of Payments or Transfers: April 26, 2019; May 29, 2019
Total Amount or Value: $8,000.00
Reasons for Payment or Transfer: Lease of business premises
     Case 19-40608-thf                   Doc 1          Filed 07/12/19 Entered 07/12/19 08:39:37                                           Page 81 of
                                                                    102
B2030 (Form 2030) (12/15)




                                        United States Bankruptcy Court
                                                     WESTERN DISTRICT OF KENTUCKY



In re Burlington Civil, Inc.

                                                                                                 Case No. ___________________

Debtor                                                                                           Chapter 7____________________

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
      named debtor(s) and that compensation paid to me within one year before the filing of the petition in
      bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
      contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                               10,000.00
      For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

      Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                             9,665.00

      Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                               335.00

2.    The source of the compensation paid to me was:

                 Debtor                          X Other (specify) Prepetition fees at $275.00/hr. for attorney & $150.00/hr. for paralegal

3.    The source of compensation to be paid to me is:

                 Debtor                          X Other (specify) Counsel has been paid $9,665.00 from $10,000.00 retainer

4.          X I have not agreed to share the above-disclosed compensation with any other person unless they are
            members and associates of my law firm.

               I have agreed to share the above-disclosed compensation with a other person or persons who are not
            members or associates of my law firm. A copy of the agreement, together with a list of the names of the
            people sharing in the compensation, is attached.

5.    In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
      case, including:

      a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
            file a petition in bankruptcy;

      b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
            hearings thereof;
     Case 19-40608-thf            Doc 1       Filed 07/12/19 Entered 07/12/19 08:39:37                           Page 82 of
                                                          102
B2030 (Form 2030) (12/15)

      d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

      e.   [Other provisions as needed]




6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:
      representation in adversary proceedings or disputed matters, if any




                                                       CERTIFICATION

               I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
            me for representation of the debtor(s) in this bankruptcy proceeding.

            July 12, 2019
            ______________________               /s/R. Stephen LaPlante
            Date                                     Signature of Attorney

                                                 LaPlante LLP
                                                     Name of law firm
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 83 of
                                                  102
                                 A.B.C. Rental Center, Inc.
                                 1301 Daviess St.
                                 Owensboro,KY 42303

Dothins




                                 Ace's Sporting Goods
                                 1265 Highway 3543
                                 Hawesville,KY 42348

Dothins




                                 Airgas USA, LLC
                                 P.O. Box 9249
                                 Marietta,GA 30065-2249

Dothins




                                 AKS Holdings, LLC
                                 1801 Mohawk Dr.
                                 Owensboro,KY 42301

Dothins




                                 All-Star Waste Services, Inc.
                                 P.O. Box 104
                                 Maceo,KY 42355

Dothins




                                 American Engineers, Inc.
                                 65 Aberdeen Dr.
                                 Glasgow,KY 42141

Dothins




                                 American Express
                                 P.O. Box 981535
                                 El Paso,TX 79998-1535

Dothins




                                 American Society of Civil Engineers
                                 1801 Alexander Bell Dr.
                                 Reston,VA 20191

Dothins




                                 Austin Insulation, LLC
                                 745 Corrine Ave.
                                 Memphis,TN 38107

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 84 of
                                                  102
                                 A-West Side Towing
                                 2029 Lancaster Ave.
                                 Owensboro,KY 42301

Dothins




                                 Barnhart
                                 1120 Ewing Rd.
                                 Owensboro,KY 42301

Dothins




                                 Barricade Services & Sales, Inc.
                                 P.O. Box 1406
                                 West Jordan,UT 84084

Dothins




                                 Big River Rubber & Gasket Co., Inc.
                                 214 W. 10th St.
                                 Owensboro,KY 42302-0369

Dothins




                                 Black Equipment Co., Inc.
                                 1187 Burch Dr.
                                 Evansville,IN 47725

Dothins




                                 Blue Moon Environmental
                                 140 Luke Mercer Rd.
                                 Reynolds Station,KY 42368

Dothins




                                 Booker Electric
                                 220 Hamilton Ave.
                                 Owensboro,KY 42303

Dothins




                                 Booker's Service Station
                                 2821 W. Parrish Ave.
                                 Owensboro,KY 42301

Dothins




                                 Bowen Thread Auto Service
                                 501 Triplett St.
                                 Owensboro,KY 42303

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 85 of
                                                  102
                                 Branch Banking and Trust Company
                                 230 Frederica St.
                                 Owensboro,KY 42301

Dothins




                                 Branch Banking and Trust Company
                                 230 Frederica St.
                                 Owensboro,KY 42301-3003

Dothins




                                 Business Equipment Dist., Inc.
                                 275 Klutey Park Plaza Dr.
                                 Henderson,KY 42420

Dothins




                                 Canon Financial Services, Inc.
                                 P.O. Box 5008
                                 Mt. Laurel,NJ 08054

Dothins




                                 Canon Financial Services, Inc.
                                 14904 Collections Center Dr.
                                 Chicago,IL 60693-0149

Dothins




                                 Canon Financial Services, Inc.
                                 Attn: Customer Service Dept.
                                 158 Gaither Dr., Ste. 200
                                 Mt. Laurel,NJ 08054

Dothins




                                 Canon Solutions America, Inc.
                                 ATTN: Customer Service Dept.
                                 300 Commerce Square Blvd.
                                 Burlington,NJ 08016

Dothins




                                 Carpenters Local 224
                                 5370 Covert Ct.
                                 Newburgh,IN 47630

Dothins




                                 Carter Lumber/Kight Lumber
                                 2301 Windhaven Dr.
                                 Owensboro,KY 42303

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 86 of
                                                  102
                                 CES, LLC
                                 18038 Belgium St.
                                 Leopold,IN 47551

Dothins




                                 Cintas Corporation
                                 7233 Enterprise Park Dr.
                                 Evansville,IN 47715

Dothins




                                 City of Hawesville
                                 359 Main St.
                                 Hawesville,KY 42348

Dothins




                                 City of Orem
                                 56 N. State St.
                                 Orem,UT 84057

Dothins




                                 Clean Green Porta Potties, LLC
                                 P.O. Box 21622
                                 Owensboro,KY 42304

Dothins




                                 Comfort Design Heating & A/C, Inc.
                                 1330 Burlew Blvd.
                                 Owensboro,KY 42303

Dothins




                                 Commercial Door and Hardware
                                 1117 N. 8th St.
                                 Paducah,KY 42001

Dothins




                                 Commonwealth of Kentucky
                                 Finance & Administration Cabinet
                                 403 Wapping St., Bush Bldg., 1st Fl.
                                 Frankfort,KY 40601-2638

Dothins




                                 Commonwealth of Kentucky, Dept. of Reven
                                 Legal Support Branch
                                 P.O. Box 5222
                                 Frankfort,KY 40602

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 87 of
                                                  102
                                 Commonwealth of Kentucky, Finance & Adm.
                                 403 Wapping St.
                                 Bush Bldg., 1st Fl.
                                 Frankfort,KY 40601-2638

Dothins




                                 Consolidated Pipe & Supply Co., Inc.
                                 768 Interstate Dr.
                                 Bowling Green,KY 42101

Dothins




                                 Culy Contracting, LLC
                                 5 Industrial Park Dr.
                                 Winchester,IN 47394

Dothins




                                 D & D Global
                                 2672 Rock Ridge Dr.
                                 Rock Valley,IA 51247

Dothins




                                 Daviess County PVA
                                 212 St. Ann St., Rm. 102
                                 Owensboro,KY 42303

Dothins




                                 Double D Electrical & Instrumentation, I
                                 1321 S. Earl Dr., Ste. A
                                 Salt Lake City,UT 84104

Dothins




                                 EBN Construction & Industrial Supplies
                                 1701 E. Columbia St.
                                 Evansville,IN 47711

Dothins




                                 Edwards Concrete Construction, Inc.
                                 1550 Yokel Rd.
                                 Evansville,IN 47711

Dothins




                                 EFCO
                                 1000 County Rd.
                                 Monett,MO 65708

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 88 of
                                                  102
                                 Elder Pipe & Supply Co., Inc.
                                 1615 Sweeney St.
                                 Owensboro,KY 42303

Dothins




                                 Empire Supply, LLC
                                 1904 Ragu Dr.
                                 Owensboro,KY 42303

Dothins




                                 Enviro-Care
                                 1570 St. Paul Ave.
                                 Gurnee,IL 60031

Dothins




                                 Erosion Resources & Supply, Inc.
                                 900 N. Baker Rd.
                                 Boonville,IN 47601

Dothins




                                 Fastenal
                                 1627 Sweeney St.
                                 Owensboro,KY 42303

Dothins




                                 Ferguson Waterworks
                                 1492 S. 4450 W.
                                 Salt Lake City,UT 84104-5022

Dothins




                                 First Insurance
                                 450 Skokie Blvd., Ste. 1000
                                 Northbrook,IL 60062

Dothins




                                 Gardner Engineering & Consulting, PLLC
                                 1030 Burlew Blvd., Bldg. B, Ste. 2
                                 Owensboro,KY 42303

Dothins




                                 Geneva Pipe
                                 1465 W. 400 N.
                                 Orem,UT 84057

Dothins
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                                                  102
                                 Geneva Rock Products
                                 302 W 5400 S
                                 Ste. 200
                                 Murray,UT 84107

Dothins




                                 Gerdts Concrete
                                 3950 S. 500 W.
                                 Millcreek,UT
Dothins




                                 German American Insurance
                                 P.O. Box 360
                                 Jasper,IN 47547-0360

Dothins




                                 Goedecke Construction Equipment and Supp
                                 812 E. Taylor Ave.
                                 St. Louis,MO 63147

Dothins




                                 Granger-Hunter Improvement District
                                 2888 S. 3600 W.
                                 West Valley City,UT 84119

Dothins




                                 Great American Insurance Group
                                 P.O. Box 5425
                                 Cincinnati,OH 45201-5425

Dothins




                                 Greenwell Chisholm Printing Company
                                 211 W. 9th St.
                                 Owensboro,KY 42303

Dothins




                                 Hagerty Steel & Aluminum Company
                                 601 N. Main St.
                                 East Peoria,IL 61611-6130

Dothins




                                 Haggard & Stocking
                                 5318 Victory Dr.
                                 Indianapolis,IN 46203

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 90 of
                                                  102
                                 Hancock County Ready Mixed
                                 P.O. Box 2000
                                 Owensboro,KY 42302-2000

Dothins




                                 Hannan Supply Co.
                                 P.O. Box 270
                                 Paducah,KY 42001-0270

Dothins




                                 Harper Precast
                                 P.O. Box 18549
                                 Salt Lake City,UT
Dothins




                                 Heritage - Crystal Clean
                                 2700 East Side Park Rd.
                                 Evansville,IN 47715

Dothins




                                 Honey Bucket
                                 P.O. Box 73399
                                 Puyallup,WA 98373-0399

Dothins




                                 Hospice of Western Kentucky
                                 3419 Wathens Crossing
                                 Owensboro,KY 42301

Dothins




                                 HP Thompson Companies
                                 101 Main St., Ste. 300
                                 Milford,OH 45150

Dothins




                                 Idaho State Tax Commission
                                 P.O. Box 36
                                 Boise,ID 83722-0410

Dothins




                                 Imperial Fastener & Industrial Supply Co
                                 5318 Victory Dr.
                                 Indianapolis,IN 46203

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 91 of
                                                  102
                                 Imperial Fastener & Industrial Supply Co
                                 4814 N. Spring St.
                                 Evansville,IN 47711

Dothins




                                 IN/KY/OH Regional Council of Carpenters
                                 Local 1076
                                 771 Greenwood Springs Dr.
                                 Greenwood,IN 46143

Dothins




                                 Indiana Department of Revenue
                                 100 N. Senate Ave., Rm. N203-Bankruptcy
                                 Indianapolis,IN 46204

Dothins




                                 Industrial Trade Services
                                 111 S. 1st St.
                                 Monmouth,IL 61462

Dothins




                                 Integrity Testing & Inspection, Inc.
                                 3861 Vincent Station Dr.
                                 Owensboro,KY 42303

Dothins




                                 Internal Revenue Service
                                 P.O. Box 7346
                                 Philadelphia,PA 19101-7346

Dothins




                                 Ironworkers Local 103
                                 5313 Old Boonville Hwy.
                                 Evansville,IN 47715

Dothins




                                 Irving Materials, Inc.
                                 1440 Selinda Ave.
                                 Louisville,KY 40213-1954

Dothins




                                 IUOE Local 03
                                 8805 S. Sandy Parkway
                                 Sandy,UT 84070

Dothins
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                                                  102
                                 IUOE Local 181
                                 700 N. Elm St.
                                 Henderson,KY 42419-0034

Dothins




                                 J. H. Botts, LLC
                                 253 Bruce St.
                                 Joliet,IL 60432

Dothins




                                 J. I. Hass Company, Inc.
                                 P.O. Box 1635
                                 Owensboro,Ken 42302-1635

Dothins




                                 John and Angela Scheithe
                                 1801 Mohawk Dr.
                                 Owensboro,KY 42301

Dothins




                                 John Deere Financial
                                 P.O. Box 6630
                                 Johnston,IA 50131

Dothins




                                 John Deere World Headquarters
                                 1 John Deere Place
                                 Moline,IL 61265

Dothins




                                 KCIT
                                 120 W. State St.
                                 Frankfort,KY 40601

Dothins




                                 Kentucky Dept. of Revenue PVA
                                 501 High St., 4th Fl, Station 32
                                 Frankfort,KY 40601-2103

Dothins




                                 Kentucky Office of Unemployment Insuranc
                                 275 E. Main St., 2WB
                                 Frankford,KY 40601

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 93 of
                                                  102
                                 Kentucky Testing, Inc.
                                 100 Muirfield Dr.
                                 Princeton,KY 42445

Dothins




                                 Komatsu Equipment
                                 1486 S. Distribution Dr.
                                 Salt Lake City,UT 84104

Dothins




                                 L & W Supply Corporation
                                 1515 E. 9th St.
                                 Owensboro,KY 42303

Dothins




                                 Lone Peak Masonry, LLC
                                 404 E. Azure Circle
                                 Draper,UT 84020

Dothins




                                 Lykins Reinforcing, Inc.
                                 P.O. Box 21325
                                 Louisville,KY 40221

Dothins




                                 Lykins Reinforcing, Inc.
                                 8568 Nash Rd.
                                 Louisville,KY 40214

Dothins




                                 Malone Lumber
                                 204 W. Depot St.
                                 Greenville,KY 42345

Dothins




                                 McElroy Metal
                                 17031 Koala Rd.
                                 Adelanto,CA 92301

Dothins




                                 McMaster-Carr Supply Company
                                 P.O. Box 4355
                                 Chicago,IL 60680-4355

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 94 of
                                                  102
                                 McMaster-Carr Supply Company
                                 600 N. County Line Rd.
                                 Elmhurst,IL 60126-2034

Dothins




                                 Midsouth Rentals, LLC
                                 P.O. Box 1993
                                 Owensboro,KY 42302

Dothins




                                 Midsouth Rentals, LLC
                                 2396 Windhaven Dr.
                                 Owensboro,KY 42303

Dothins




                                 Midwest Mole, Inc.
                                 6814 W. 350 N.
                                 Greenfield,IN 46140

Dothins




                                 Midwest Rigging Supply
                                 P.O. Box 22520
                                 Owensboro,KY 42304

Dothins




                                 Miller Paving, Inc.
                                 P.O. Box 571039
                                 Murray,UT 84157-1039

Dothins




                                 Modern Supply Company, Inc.
                                 1507 E. 15th St.
                                 Owensboro,KY 42303

Dothins




                                 Modern Welding Co. of Owensboro, Inc.
                                 1450 E. Parrish Ave.
                                 Owensboro,KY 42303

Dothins




                                 Moultrie Manufacturing Company
                                 1403 Ga. Hwy. 133 S.
                                 P.O. Box 2948
                                 Moultrie,GA 31776-2948

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 95 of
                                                  102
                                 Mountain Crane
                                 393 S. 2650 W.
                                 Salt Lake City,UT 84104

Dothins




                                 Murphy Excavating, LLC
                                 9210 State Route 56
                                 Owensboro,KY 42301

Dothins




                                 Mutual of Omaha
                                 3300 Mutual of Omaha Plaza
                                 Omaha,NE 68175

Dothins




                                 Nomlaki Technologies, LLC

Dothins




                                 Norman King Electric, Inc.
                                 P.O. Box 21306
                                 Owensboro,KY 42302

Dothins




                                 Nucor Building Systems
                                 P.O. Box 1006
                                 Swansea,SC 29160

Dothins




                                 Office of the Attorney General
                                 Tax & Business Services Div.
                                 P.O. Box 140874
                                 Salt Lake City,UT 84114-0874

Dothins




                                 On Time Fab, Inc.
                                 3021 Medley Rd.
                                 Owensboro,KY 42301

Dothins




                                 Orion Construction
                                 32 Market Ave. SW, Ste. 200
                                 Grand Rapids,MI 49503

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 96 of
                                                  102
                                 Owensboro Concrete Company
                                 P.O. Box 2000
                                 Owensboro,KY 42302-2000

Dothins




                                 Owensboro Municipal Utilities
                                 2070 Tamarack Rd.
                                 Owensboro,KY 42301

Dothins




                                 Owensboro Riverport Authority
                                 1771 River Rd.
                                 Owensboro,KY 42301

Dothins




                                 Owensboro Supply Co., Inc.
                                 P.O. Box 2029
                                 Owensboro,KY 42302-2029

Dothins




                                 Pinnacle Computer Services, Inc.
                                 640 S. Hebron Ave.
                                 Evansville,IN 47714-4042

Dothins




                                 Plumbers and Pipefitters Local 633
                                 3128 Alvey Park Dr. W.
                                 Owensboro,KY 42303

Dothins




                                 Pogue Electric Service, Inc.
                                 106 Industrial Dr.
                                 Greenville,KY 42345

Dothins




                                 PVF Supply Company, Inc.
                                 P.O. Box 1796
                                 Owensboro,KY 42302

Dothins




                                 Raben Tire Co., LLC
                                 P.O. Box 4835
                                 Evansville,IN 47724-0835

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 97 of
                                                  102
                                 Rawdon Myers, Inc.
                                 300 Milford Parkway
                                 Milford,OH 45150

Dothins




                                 Regional Water Resource Agency
                                 1722 Pleasant Valley Rd.
                                 Owensboro,KY 42303

Dothins




                                 Rexel Correspondence
                                 Attn: Credit Dept.
                                 P.O. Box 766
                                 Addison,TX 75001-0766

Dothins




                                 Road Builders, LLC d/b/a Greenville Quar
                                 P.O. Box 388
                                 Greenville,KY 42345

Dothins




                                 Robert I. Merrill Co.
                                 4049 S. 210 W.
                                 Salt Lake City,UT 84107

Dothins




                                 S & K Acquisition Corp.
                                 d/b/a S & K Air Power
                                 5650 Oak Grove Rd.
                                 Evansville,IN 47715

Dothins




                                 Schrecker Supply Company
                                 1100 Sweeney St.
                                 Owensboro,KY 42303

Dothins




                                 Secure Mechanical Heating & Air Conditio
                                 P.O. Box 1070
                                 Riverton,UT
Dothins




                                 Sherwin Williams Co.
                                 2740 Frederica St.
                                 Owensboro,KY 42301-5442

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 98 of
                                                  102
                                 SLC Lawn Services
                                 5985 Vista Mesa Dr.
                                 West Valley City,UT 84128

Dothins




                                 Smith Manus Surety Bonds
                                 2307 River Rd., Ste. 200
                                 Louisville,KY 40206

Dothins




                                 Sorensen Companies, Inc.
                                 4185 W. 8370 S.
                                 West Jordan,UT 84088

Dothins




                                 Southwest Regional Council of Carpenters
                                 Local 801
                                 533 S. Fremont Ave., 10th Fl.
                                 Los Angeles,CA 90071

Dothins




                                 Southwest Regional Council of Carpenters
                                 Local 801
                                 8149 S. Welby Park Dr.
                                 West Jordan,UT 84088

Dothins




                                 Sterett Crane & Rigging
                                 25 Booth Field Rd.
                                 Owensboro,KY 42301

Dothins




                                 Sterett Equipment Company
                                 P.O. Box 22520
                                 Owensboro,KY 42304

Dothins




                                 Sugar Steel Corporation
                                 5401 Hwy. 41 N., Ste. 9400
                                 Evansville,IN 47711-1962

Dothins




                                 Sullivan Mountjoy Stainback
                                 100 St. Ann St.
                                 Owensboro,KY 42301

Dothins
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                                                  102
                                 Sunbelt Rentals, Inc.
                                 1015 E. Columbia St.
                                 Evansville,IN 47711

Dothins




                                 Sunbelt Rentals, Inc.
                                 P.O. Box 409211
                                 Atlanta,GA 30384-9211

Dothins




                                 T.A. Gaddis Services, LLC
                                 4677 Lonesome Pine Trail
                                 Owensboro,KY 42301

Dothins




                                 TC Sales & Service
                                 P.O. Box 963
                                 Sandy,UT 84070

Dothins




                                 Tennessee Dept. of Labor and Workforce D
                                 220 French Landing Dr.
                                 Nashville,TN 37243

Dothins




                                 Terracon Consultants, Inc.
                                 6949 S. High Tech Dr., Ste. 100
                                 Midvale,UT 84047-3707

Dothins




                                 Thermal Design
                                 P.O. Box 468
                                 Madison,NE 68748

Dothins




                                 Triangle Enterprises, Inc.
                                 3630 Cairo Rd.
                                 Paducah,KY 42001

Dothins




                                 Twin States Utilities & Excavation, Inc.
                                 9344 Old Glasgow Rd.
                                 Mt. Hermon,KY 42157

Dothins
          Case 19-40608-thf   Doc 1   Filed 07/12/19 Entered 07/12/19 08:39:37   Page 100 of
                                                   102
                                 United Rentals
                                 1135 S. Pioneer Rd.
                                 Salt Lake City,UT 84104-3716

Dothins




                                 Utah Dept. Workforce Services
                                 P.O. Box 45249
                                 Salt Lake City,UT 84145-0249

Dothins




                                 Utah State Tax Commission
                                 Taxpayer Services
                                 210 N. 1950 W.
                                 Salt Lake City,UT 84134

Dothins




                                 Utility Pipe Sales
                                 11802 N. Green River Rd.
                                 Evansville,IN 47725

Dothins




                                 Valor, LLC
                                 P.O. Box 1914
                                 Owensboro,KY 42302

Dothins




                                 Vermeer of Indiana, Inc.
                                 13402 Britton Park Rd.
                                 Fishers,IN 46038

Dothins




                                 Wells Fargo Auto
                                 MAC T9017-026
                                 P.O. Box 168048
                                 Irving,TX 75016-8048

Dothins




                                 Wells Fargo Auto
                                 MAC T9017-026
                                 P.o. Box 168048
                                 Irving,TX 75016-8048

Dothins




                                 Whayne Supply Company
                                 3900 Parrish Ave.
                                 Owensboro,KY 42301

Dothins
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                                                   102
                                 Whitehead Concrete Pumping, Inc.
                                 14109 Moore Rd.
                                 Marion,IL 62959

Dothins




                                 Xylem
                                 9745 Hedden Rd.
                                 Evansville,IN 47725

Dothins




                                 Yager Materials, LLC
                                 Yard 2
                                 P.O. Box 2000
                                 Owensboro,KY 42302-2000

Dothins




                                 Yager Materials, LLC
                                 701 E. 2nd St.
                                 Owensboro,KY 42303

Dothins




                                 Yeiser Excavating, Inc.
                                 841 Hill Bridge Rd.
                                 Utica,KY 42376

Dothins
         Case 19-40608-thf               Doc 1          Filed 07/12/19 Entered 07/12/19 08:39:37                            Page 102 of
                                                                     102
                                                 UNITED STATES BANKRUPTCY COURT
                                                          Western District of Kentucky


In re:                                                                                               Case No.
         Burlington Civil, Inc.
                                              Debtors
                                                                                                     Chapter    7


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     July 12, 2019                                             Signed:   /s/John R. Scheithe




         Dated:                                                               Signed:



                    /s/R. Stephen LaPlante
                    R. Stephen LaPlante
                    Attorney for Debtor(s)
                    Bar no.: 8687-82
                    101 NW 1st St., Ste. 116, P.O. Box
                    3556
                    Evansville, Indiana 47734-3556
                    Telephone No: (812) 463-6093
                    Fax No: (812) 463-6094

                    E-mail address:
